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                EXHIBIT “A”
Electronically FILED by Superior Court of California, County of Los Angeles on 01/09/2023 01:36 PM David W. Slayton, Executive Officer/Clerk of Court, by G. Carini,Deputy Clerk
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                                                 23STCV00395

                                                                                                                                                                           SUM-100
                                                                   SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                                                (SOLO PARA USO DE LA CORTE)
                                                          (CITACION JUDICIAL)

          NOTICE TO DEFENDANT:
          (AVISO AL DEMANDADO):
          TORRANCE MEMORIAL MEDICAL CENTER


          YOU ARE BEING SUED BY PLAINTIFF:
          (LO ESTÁ DEMANDANDO EL DEMANDANTE):
          JANE DOE, individually and on behalf of others similarly situated

           NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
           below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
           court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
           be taken without further warning from the court.
              There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
           (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
           continuación.
              Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
           corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
           en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
           Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
           biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
           le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
           quitar su sueldo, dinero y bienes sin más advertencia.
              Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
           remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
           programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
           (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
           colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
           cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
           pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                                                   CASE NUMBER:
          The name and address of the court is:                                                                    (Número del Caso):
          (El nombre y dirección de la corte es): Superior Court of the State of California,
          County of Los Angeles, 111 North Hill St., Los Angeles, CA 90012

          The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
          (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
          Michael A. Caddell, Caddell & Chapman, P.O. Box 1311, Monterey, CA 93942 telephone: (713) 751-0400
          DATE:                                                               Clerk, by                                            , Deputy
          (Fecha)                                                             (Secretario)                                         (Adjunto)
          (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
            [SEAL]                                  NOTICE TO THE PERSON SERVED: You are served
                                                    1.      as an individual defendant.
                                                    2.      as the person sued under the fictitious name of (specify):

                                                    3.           on behalf of (specify): TORRANCE MEMORIAL MEDICAL CENTER
                                                          under:        CCP 416.10 (corporation)                                         CCP 416.60 (minor)
                                                                        CCP 416.20 (defunct corporation)                                 CCP 416.70 (conservatee)
                                                                        CCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)
                                                                        other (specify):
                                                    4.           by personal delivery on (date):
                                                                                                                                                                               Page 1 of 1
           Form Adopted for Mandatory Use                                                                                                            Code of Civil Procedure §§ 412.20, 465
             Judicial Council of California
                                                                                        SUMMONS                                                                          www.courts.ca.gov
            SUM-100 [Rev. July 1, 2009]
Electronically FILED by Superior Court of California, County of Los Angeles on 01/09/2023 01:36 PM David W. Slayton, Executive Officer/Clerk of Court, by G. Carini,Deputy Clerk
                Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 3 of 122 Page ID #:17
                                                 23STCV00395
                                        Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Lawrence Riff




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                 13        Fax: (713) 655-0062

                 14        Attornevs for PIaintig

                 15                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 16                                                             COUNTY OF LOS ANGELES
                 17          JANE DOE, iudividually aud ou
                             behalf of others siuularly situated,
                 18                                                                                  CASE NO.
                                                    PIainti+
                 19
                                         V.                                                         CLASS ACTION COMPLAINT
                 20                                                                                 AND DEMAND FOR JURY TRIAL
                             TORRANCE MEMORIAL
                 21          MEDICAL CENTER,
                 22                                 Defendant.
                 23

                 24

                 25

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                 28         CASE No.

                                                                    CLAss ACTIDN CDMPLAINT AND DEMAND F0R JURY TRIAL
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             Plaiutiff Jane Doe, iudividually aud ou behalf of all other Califonua citizeus siuularly
     situated, briugs suit agaiust Defeudaut Torrauce Memorial Medical Ceuter ("Defendant" or
     "Torrauce Memorial" ), and upon personal kuowledge as to Plaintiffs own couduct aud on

     iufonuatiou and belief as to all other matters based upon mvestigatiou by couusel, alleges as
     follows:

                                         I. SUMMARY OF ALLEGATIONS

              1.      This case arises fiom Defendaut's systematic violation of the medical privacy

     rights of patieuts aud users of Defendaut's services, resultiug iu the disclosure of highly seusitive

     personal infonnatiou to Facebook without those patieuts'r users'nowledge or conseut.
10           2.       Defeudant's "Website Privacy Policy" tells patieuts and prospective patieuts that
     "Your privacy is very important to us." tudeed, Defeudaut prouuses patieuts aud prospective

12   patieuts that "[w]e will uot use or disclose your Health Iufortnation for marketing purposes
13   without your written authorization." Contrary to these assurauces, Defeudant does uot follow
14   these policies, nor does it follow the law prohibitiug such disclosures.
15           3.       Siuce at least 2017, Defeudaut has disclosed infonnatiou about prospective and

16   actual patieuts—includiug their stants as actual or poteutial patieuts, their actual or poteutial
17   physiciaus, their actual or poteutial medical treatments, the hospitals they visited or may visit, aud
     their persoual ideutities —to Facebook and other third parries without their kuowledge,
19   authorizatiou, or conseut.
20           4.       Defendaut discloses this protected health iufonuatiou through the deploymeut of
21   various digital marketing aud automatic reroutmg tools embedded ou its websites that
22   pmposefully aud iuteutioually redirect persoual health information to Facebook, who exploits that
23   iufonuatiou for advertising ptuposes. Defendaut's use of these reroutiug tools causes personally
24

25
     'ttps://xxxvw.torraucemeiuoriat.org/website-prix acy-uotice/
26    https://xxxvw.tutphysicisautetwork.org/app/files/public/Sfa720tb-71e9-47b9-aa4a-
     68bc3293 1845/f orrauce%20Memoria1%20physiciau%20Network/Pt/o20Privacy/Notice-of-Privacy-Practices-
27   TMPN.pdf
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     ideutifiable information aud the couteuts of comuiuuicatious exchauged betweeu actual aud

     prospective patients with Defeudaut to be automatically redirected to Facebook iu violatiou of
     those patieuts'easonable expectations of privacy, their rights as patients, their rights as citizens

     of CalifoiIIia, aud both the express aud implied promises of Defeudaut.
            5.      Defendaut's conduct iu disclosiug such protected health information to Facebook

     violates California law, includiug the California Iuvasiou of Privacy Act ("CIPA"), CAL. PENAL

     CQDE $ $ 630, et seq.; the       Califoiuia Coufideutiality of Medical Iufoiiuation Act ("CMIA"), CAL.
     Crvn. CODE Il) 56.06, 56.10, 56.101; the Comprehensive Computer Data Access aud Fraud Act

     ("CDAFA"), CAL. PENAL CQDE              $   502; aud Invasion of Privacy aud Violatiou of the Cahfoinia
10   Coustitutiou, ART. I,   $   l.
            6.      Plaiutiff contiunes to desire to search for health iufonuatiou ou Tonance
12   Memorial's website. Plaintiff will coutiuue to suffer harm if the website is uot redesigued. If the
13   website were redesigned to comply with applicable laws, Plaintiff would use the Toirauce
14   Memorial website to search for health iufonuatiou iu the future.
15          7.      On behalf of herself and all similarly siniated persous, Plaintiff seeks au order
16   enjoining Defeudant from further unauthorized disclosures of persoual infouuation; awarding
17   statutory damages iu the amouut of at least $ 5,000 per violation, attorneys'ees and costs; aud

     grantiug auy other preliminary or equitable relief the Court deems appropriate.
19                                                      II. PARTIES
20   A. Plaintiff

21          8.      Plaiutiff Jane Doe is a resident of Los Augeles Conuty, California.
22          9.      Plaintiff Jaue Does has used the Torrauce Memorial website to search for Toirauce
23   Memorial doctors aud medical treatment.
24           10.    Plaiutiff Jane Doe's use of the Torrance Memorial website eutailed providiug Jaue
25   Doe's seusitive iuedical iufoiiuatiou, such as conditious for which she was seekiug treatmeut.
26

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              11.     Plaintiff Jane Doe has beeu a patieut at Defendaut Touauce Memoidal Medical
     Center.i

     B. Defendant

              12.     Defeudant Toirauce Memorial Medical Ceuter is a Califoruia coiporatiou with its

     priucipal place of busiuess located at 3300 Lomita Blvd, Toirauce, Califoiuia 90505.
                                        III. JURISDICTION AND VEMJK
              13.     This Court has jurisdictiou over Defeudaut because it regularly couducts business

     iu Califoruia, iucludiug iu Los Augeles Couuty, aud has its priucipal place of busiuess iu

     California.
10            14.     Veuue is appropriate iu this Comt because the injuries giviug idse to the alleged

     causes of action occurred iu Los Augeles Couuty aud because Plaiutiff Jane Doe resided iu Los

12   Angeles County at the time the offer of services for personal use was made by Defendant. See
13   CAL. C.C.P. IlI/ 395(a) //r 395(b). Veuue is also appropriate iu this   Comt because Los Augeles
14   Couuty is the couuty iu which the cause, or some part of the cause, arose for the recovery of a
15   penalty imposed by statute. See CAL. C.C.P.     Il   393(a).
16                                          IV. FACTUAL BACKGROUND
17            15.     Plaiutiff Jane Doe visited Defeudaut's website to look for doctors, research
     treatmeuts, aud investigate her insurance options at https://www.torrancememoiiakorg/. Plaiutiff
19   had couceitts about a coucussiou she had suffered and about receiviug healthcare to help with her
20   recovery. Plaiutiff eutered data ou Toirauce Memorial's website, iucludiug sensitive medical
21   information and details about her medical coudition. She also searched for a doctor on Torrance
22   Memorial's website to help her with treatiueut.
23            16.     Uubekuowust to Plaiutiff Jaue Doe, Toirauce Memorial had embedded computer
24   code on its website that took eveiy search tenn she entered and eveiy page of the site she visited

25   aud scut that information directly to Facebook, the largest and most profitable social media
26

27   I https://www.torrancemetnorial.org/

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     compauy on the plauet. Torrauce Memorial accomplished this by iustalliug Facebook's "Meta
     Pixel" tool on ahuost every page of Torrauce Memorial's website. The Meta Pixel worked like a

     listeuing device. Each time Plaintiff Jane Doe typed a search tenn, the Meta Pixel recorded the

     iufouuatiou she eutered and transmitted it to Facebook, along with ideutifyiug iufortnation that
     let Facebook know exactly who Jaue Doe was. Iustautaueously, Facebook knew that Jaue Doe

     was interested iu medical treatmeut for her coucussiou. Facebook then took this infounation and

     added it to all of the other iufoimatiou it keeps about cousiuuers, iuatchiug Jaue Doe's iuterest iu
     medical treatmeut with her Facebook profile, name, address, iuterests, aud other websites she had

     visited. This information theu became available for Facebook's advertisers to use when Facebook
10   sold them targeted advertising services.

             17.    Plaiutiff was surprised aud troubled that information she believed was beiug
12   commuuicated only to Tonauce Memorial for the purpose of obtainiug medical treatment had
13   been scut to Facebook aud used to target advertisemeuts to her. Plaintiff subsequeutly learned that
14   thousauds of Torrauce Memorial patieuts like her had siuularly had their privacy rights violated.
15   Most of these consumers were likely uot even aware of this privacy violation, much less able to
16   hire couusel to stop the illegal couduct. Plaintiff therefore uow brings these claims to coirect
17   Torrauce Memorial's privacy violations aud obtaiu relief for herself aud thousauds of siunlarly

     siuiated consiuners.
19                                  V. CLASS ACTION ALLEGATIONS

20   A. Defendant routinely discloses the protected health information of patients and users of

21
        its services to Facebook.

22           18.    Article I, Sectiou   1   of the Califoruia Constitution provides: "All people are by

23
     uature free aud iudependeut aud have malieuable rights. Among these are eujoyiug aud defeudiug
     life aud liberty, acquiriug, possessing, and protectiug property, aud pursuiug aud obtaiuiug safety,
24

25   happiuess, and privacy." California Constitutiou, Article I, Sectiou l.

26           19.    Medical patieuts aud those seekiug medical treatmeut iu Califoritia such as Jaue

27
     Doe have a legal iuterest iu preserviug the confideutiality of their couunuuicatious with health

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     care providers aud have reasouable expectatious of privacy that their personally ideutifiable

     iufounatiou aud commuuications will uot be disclosed to third parties by Defeudaut without their
     express written conseut aud authorizatiou.

            20.     As a health care provider, Defeudaut has couuuou law aud statutoiy duties to

     protect the coufidentiality of patieut information aud commuuicatious.
            21.     Defendaut expressly and impliedly promises patieuts that it will maiutaiu and

     protect the confidentiality of persoually ideutifiable patieut information aud couuuunicatious.
            22.     Defendaut operates websites for current and prospective patients, iucludiug

     https://www.torraucememorial.org/.
10          23.     Defeudant's websites are desigued for iuteractive coimnuuicatiou with patieuts
     and users, iucluding scheduling appoiutmeuts, searchiug for physiciaus, payiug bills, requestiug

12   medical records, learning about medical issue treatment options, and joining support groups.
13          24.     Notwithstaudiug prospective aud curreut patieuts'easouable expectatious of
14   privacy, Defendaut's legal duties of coufideutiality, aud Defeudaut's express prouuses to the
15   contrary, Defeudant discloses the conteuts of prospective aud cimeut patieuts'ommiuucations
16   aud protected healthcare information via automatic re-routiug iuechauisms embedded iu the
17   websites operated by Defeudaut without patieuts'uowledge, authorizatiou, or conseut.
18   B. The Nature of Defendant's Unauthorized Disclosure of Patients'ealth Care
        Information
19
            25.     Defendant's disclosure of curreut and prospective patients'ersonal healthcare
20
     iufouuation occurs because Defendant iuteutionally deploys source code on the websites it
21
     operates, iucludiug https://www.torraucememorial.org, that causes curreut aud prospective
22
     patieuts'ersonally identifiable informatiou        (as well as the exact contents of their
23
     commuuications) to be transmitted to third parties.
24
            26.     By desigu, third parties receive aud record the exact couteuts of these
25
     commuuications before the full respouse lloyd Defendant has been rendered ou the screeu of the
26

27

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     patieut's or user's computer device aud while the couunuuication with Defeudaut remaius
     ongoiug.

                27.     Websites like those maiutaiued by Defeudaut are hosted by a computer server

     through which the busiuesses iu charge of the website exchauge aud comtnuuicate with iutetnet
     users via their web browsers.

                28.     The basic commaud that web browsers use to exchauge data aud user

     comtuuuicatious is called a GET request. For example, when a patieut types "heaIT failure
     treatmeut" iuto the search box ou Defendaut's website aud hits 'Euter,'he patieut's web browser

     makes a counectiou with the server for Defendaut's website and sends the following request:
10   "GET search/q=heaIT+failure+treatmeut."

                29.     When a server receives a GET request, the iufouuation becomes appeuded to the
12   uext URL (or "Uuifoun Resource Locator" ) accessed by the user. For example, if a user enters
13   "respiratory problems" iuto the query box of a website search engiue, aud the search eugiue
14   trausuuts this information usiug a GET request method, theu the words "respiratory" aud
15   "problems" will be appeuded to the query striug at the eud of the URL of the webpage showiug

16   the search results.

17              30.     The other basic transuussiou couuuaud utilized by web browsers is POST, which

     is typically employed when a user euters data iuto a foun ou a website aud clicks   'Enter'r some
19   other form of subuussiou buttou. POST scuds the data entered in the fotnI to the server hostiug
20   the website that the user is visitiug.

21              31.     Iu response to receivmg a GET or POST commaud, the server for the website with
22   winch the user is exchaugiug iufounatiou will scud a set of iusb actions to the web browser aud
23   couuuaud the browser with source code that directs the browser to reuder the website's respousive
24   commuuication.
25

26

27   s   https://wow.w3schools.cottt/tags/tef httpmethods.asp
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             32.     Unbekuowust to most users, however, the website's server may also redirect the
      user's communicatious to third parties. Typically, users are giveu uo uotice that these disclosures
      are being made. Third parties (such as Facebook aud Google) use the udormation they receive to

      track user data and communicatious for marketiug purposes.

             33.     tu mauy cases, third-party marketiug compauies acquire the couteut of user
      commuuications through a      lxl pixel (the sutallest dot on a user's screen) called a tracking pixel,
      a web-bug, or a web beacou. These trackiug pixels are tiuy aud are purposefully camouflaged to

      remaiu iuvisible to users.

             34.     Trackiug pixels cau be placed directly on a web page by a developer, or they can
 10   be fuuueled through a "tag manager" service to make the iuvisible tracking mu more smoothly.

      A tag manager ftuther obscures the third parties to whom user data is trausmitted.
 12          35.     These tracking pixels cau collect dozens of data poiuts about individual website
 13   users who iuteract with a website. Oue of the world's most prevalent trackiug pixels, called the
 14   Meta Pixel, is provided by Facebook.
 15          36.     A web site developer who chooses to deploy third-party source code, like a
 16   trackiug pixel, ou their website must cuter the third-party source code directly outo their website
 17   for every third party they wish to send user data aud commuuications. This source code operates

      iuvisibly in the background when users visit a site employing such code.
 19   C. Tracking pixels provide third parties with a trove of personally identifying data
         permitting them to uniquely identify the individuals browsing a website.
 20
             37.     Trackiug pixels are liues of source code embedded iu websites such as
 21
      Defeudant's. Trackiug pixels are particularly pernicious because they result iu the disclosure of a
 22
      variety of data that permits third parties to detertuine the unique persoual identities of website
 23
      visitors. Wltile most users believe that the interuet provides them with anonytnity when, for
 24
      example, they browse a hospital website for treatrueut iufonnation about a medical conditiou, that
 25
      is not the case when the hospital website has embedded third party trackiug devices, as Defeudaut
 26
      has.
 27

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               38.      For example, au IP address is a umuber that ideutifies a coiuputer counected to the
      iuternet. IP addresses are used to identify aud route conuuuuicatious ou the iuteiuet. IP addresses

      of individual users are used by iuternet service providers, websites, aud tracking companies to
      facilitate aud track iuteiitet couummicatious aud couteut. IP addresses also offer adveitising

      companies like Facebook a uuique aud semi-persistent identifier across devices — oue that has

      limited privacy controls. I

               39.      Because of their uuiquely ideutifyiug character, IP addresses are considered
      protected personally ideutifiable iufouuatiou. Trackiug pixels cau (aud typically do) collect
      website visitors'P addresses.
 10            40.      Likewise, iuteruet cookies also provide persoually ideutifiable iufonnatiou.

      Cookies are small text files that web servers cau place ou a user's browser aud computer wheu a

 12   user's browser interacts with a website server. Cookies are typically designed to acquire aud
 13   record an individual iutemet user's couuuuuications aud activities ou websites aud were
 14   developed by prograuuuers to aid with ouliue advettisiug.
 15            41.      Cookies are designed to operate as a meaus of identificatiou for iuternet users.
 16   Adveitisiug compauies like Facebook aud Google have developed methods for mouetiziug and
 17   profitiug &om cookies. These compauies use third-patty trackiug cookies to help them acquire
      and record user data aud conuuunicatious in order to sell targeted adveitisiug that is custouuzed
 19   to a user's persoual commuuicatious aud browsing history. To build iudividual profiles of iuteiitet

 20   users, third paly advertisiug companies assigu each user a uuique (or a set of uuique) ideutifiers
 21   to each user.

 22            42.      Cookies are cousidered persoual identifiers, aud trackiug pixels cau collect cookies
 23   &om website visitors.

 24

 25

 26

 27   I https://adtechexptained.cotn/the-future-of-ip-address-as-an-advertising-identifier/

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                 43.     A third type of personally ideutifyiug info17uatiou is what data compauies refer to
      as a "browser-fiugerpriut." A browser-fiugerpriut is information collected about a computiug

      device that cau be used to ideutify the specific device.

                 44.     These browser-fiugeipriuts cau be used to uuiquely ideutify iudividual users wheu

      a computiug device's IP address is hidden or cookies are blocked aud cau provide a wide variety

      of data. As Google explaiued, "With fingerprinting, developers have fouud ways to use tiny bits
      of infonuatiou that vary betweeu users, such as what device they have or what fonts they have
      iustalled to generate a uuique identifier which cau theu be used to match a user across websites."s

      The value ofbrowser-fingeipriuting to advertisers (and trackers who want to monetize aggregated

 10   data) is that they can be used to track website users just as cookies do, but it euiploys iuuch uiore
      subtle teclmiques.7 Additioually, uulike cookies, users canuot clear their fiugeiprint aud therefore

 12   cannot control how their personal iuforiuation is collected.
 13              45.     Iu 2017, researchers demoustrated that browser fiugeipriutiug tecluiiques cau
 14   successfully identify 99.24 perceut of all users.
 15              46.     Browser-fingerprints are cousidered persoual identifiers, and tracking pixels can
 16   collect browser-fiugeipriuts from website visitors.
 17              47.     A fotuTh kiud of persoually ideutifyiug information is the uuique user ideutifier

      (such as Facebook's "Facebook ID") that permits compauies like Facebook to quickly and
 19   autoiuatically ideutify the personal ideutity of its user across the interuet whenever the ideutifier
 20   is eucouutered. A Facebook ID is a number striug that is couuected to a user's Facebook

 21
                 profile.'nyoue
                  with access to a user's Facebook ID can locate a user's Facebook profile."
 22
      s   https://www.blog.google/products/chrome/building-a-more-private-web/
 23
      i https://pixelprivacy.cont/resources/browser-fingerprinting/
 24
          https://www.blog.google/products/chrome/building-a-more-private-web/
 25    https://www.ndss-symposimn.org/ndss2017/ndss-2017-prograuuue/cross-browser-fuigerpiiuting-os-and-
      hardware-level-feauu es/
 26
      'ttps://www.facebook.corn/help/211813265517027
 27   " https://smallseotools.corn/find-facebook-id/
 28   CASE No.

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                 48.   | Unique personal identifiers such as a person’s Facebook ID are likewise capable

      of collection through pixel trackers.

      D. Facebook’s Business Model: Exploiting User Data to Sell Advertising

                 49.     Facebook, a social media platform founded in 2004 and today operated by Meta

      Platforms, Inc., was originally designed as a social networking website for college students.

                 50.     Facebook describes itself as a “real identity” platform.!* This means that users are

      permitted only one account and must share “the name they go by in everyday life.”? To that end,

      Facebook requires users to provide their first and last names, along with their birthday, telephone

      number and/or email address, and gender, when creating an account.!4

                 51.     In 2007, realizing the value of having direct access to millions of consumers,

      Facebook began monetizing its platform by launching “Facebook Ads,” proclaiming this service

      to be a “completely new way of advertising online,” that would allow “advertisers to deliver more

      tailored and relevant ads.”!° Facebook has since evolved into one of the largest advertising

      companies in the world.'° Facebook can target users so effectively because it surveils user activity

      both on and off its website through the use of tracking pixels.!’ This allows Facebook to make

      inferences about users based on their interests, behavior, and connections.!®

                 52.     Today, Facebook provides advertising on its own social media platforms, as well

      as other websites through its Facebook Audience Network. Facebook has more than 2.9 billion

      users. a




      ?? https://www.wsj.com/articles/how-many-users-does-facebook-have-the-company-struggles-to-figure-it-out-
      11634846701#:~:text=Facebook%20said%20in%20its%20most,of%20them™20than%20developed%20ones.

      13 https://transparency fb.comy/policies/community-standards/account-integrity-and-authentic-identity/

      14 https://www.facebook.conv/help/406644739431633
      15 https://about.fb.com/news/2007/1   1/facebook-unveils-facebook-ads/

      16 https://www.pewresearch.org/fact-tank/2021/06/01/facts-about-americans-and-facebook/

      17 https://www.facebook.cony/business/help/742478679 120153?id=1205376682832142

      18 https://www.facebook.com/business/ads/ad-targeting
      19 https://www.statista.conystatistics/2648 1 0/number-of-monthly-active-facebook-users-worldwide/

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              53.      Facebook maiutaius profiles ou users that include           users'eal   uaines, locatious,

      email addresses, fiieuds, likes, aud commuuicatious. These profiles are associated with personal

      ideutifiers, iucludiug IP addresses, cookies, aud other device ideutifiers. Facebook also tracks

      uou-users across the web through its inteinet marketiug products aud source code. Facebook

      employs algotdtluus, powered by machine Ieainiug tools, to detenuiue what advertisements to
      show users based on their habits aud interests, and utilizes trackiug software such as the Meta

      Pixel to momtor aud exploit users'abits aud interests.

              54.      Trackiug infonuatiou about         users'abits aud interests is a critical compouent of
      Facebook's busiuess model because it is precisely this kiud of information that allows Facebook
 10   to sell advertisiug to its custouiers.

              55.      Facebook offers several advertising optious based on the type of audieuce that au
 12   advertiser wauts to target. Those optious iuclude targetiug "Core Audieuces," "Custom
 13   Audiences," "Look Alike Audieuces," aud eveu more granulated approaches withiu audiences
 14   called "Detailed Targetiug." Each of Facebook's advertisiug tools allows au advertiser to target
 15   users based, amoug other things, ou their persoual data, includiug geograpluc location,
 16   demographics (e.g., age, geuder, educatiou, job title, etc.), mterests, (e.g., preferred food, movies),
 17   couuections (e.g., particular events or Facebook pages), and behaviors (e.g., purchases, device

      usage, aud pages visited). This audieuce cau be created by Facebook, the advertiser, or both
 19   workiug iu conjuuction.
 20           56.      Ad Targetiug has beeu extremely successfid due to Facebook's ability to target
 21   iudividuals at a grauular level. For example, among many possible target audieuces, "Facebook
 22   offers adveiiisers 1.5 milliou people 'whose activity on Facebook suggests that              they'e uiore
 23   likely to eugage with/distribute liberal political coutent'ud nearly seven milliou Facebook users
 24   who 'prefer lugh-value goods iu Mexico.'" Aided by highly granular data used to target specific
 25

 26

 27   ~ https://www.oytimes.corn/2018/04/I I/tectmology/facebook-privacy-hearittgs html
 28   CASE No.                                        —   11—

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      users, Facebook's advertisiug segment quickly became Facebook's most successful busiuess uuit,

      with uullious of compauies and iudividuals utiliziug Facebook's advertisiug services.
  3   E. Facebook's AIeta Pixel tool allows Facebook to track the personal data of individuals
         across a broad range of third-party websites.
  4
              57.      To power its advertising business, Facebook uses a variety of tracking tools to
  5
      collect data about iudividuals, which it can then share with advertisers. These tools include
  6
      software developmeut kits iucoiporated iuto tlurd-party applicatious, its "Like" and "Share"
  7
      buttons (known as "social plug-ius"), and other methodologies, which it theu uses to power its
  8
      advertisiug busiuess.
  9
              58.      One of Facebook's most powerfiil tools is called the "Meta Pixel." Ouce a third-
 10
      paiiy like Defendant installs the Meta Pixel ou its website, by defiuilt it begius sending user
 11

 12

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 14

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                    '9.
      iufouuation to Facebook automatically.
                       The Meta Pixel is a snippet of code embedded ou a third-party website that backs

      users'ctivities as users navigate through a website. Once activated, the Meta Pixel "tracks the
      people aud type of actions they take." Meta Pixel can track and log each page a user visits, what
      buttons they click, as well as specific iufonuation that users iuput iuto a website. The Meta Pixel
 16
      code works by seudiug Facebook a detailed log of a user's iuteraction with a website such as
 17
      clicking ou a product or runniug a search via a queiy box. The Meta Pixel also captures
 18
      iufouuatiou such as what couteut a user views ou a website or how far dowu a web page they
 19
      scrolled.2s
 20
              60.      When someone visits a third-party website page that iucludes the Meta Pixel code,
 21
      the Meta Pixel code is able to replicate aud send the user data to Facebook through a separate (but
 22

 23

 24   'ttps://themarkup.org/show-your-work/2022/04/28/how-we-built-a-meta-pixel-inspector
 25   n https://developers.facebook.corn/docs/meta-pixeV
      + https://www.facebook.corn/business/goals/retargeting
 26
      u https://www.facebook.corn/business/help/742478679120153?id=1205376682832142
      u https://themarkup.org/show-your-work/2022/04/28/how-we-built-a-meta-pixel-inspector
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      siuniltaueous) channel m a mauuer that is uudetectable by the user.                  The utfoimation scut to

      Facebook iucludes a referrer header (or "URL"), which iucludes siguificaut iufonuatiou regardiug

      the user's browsing history, including the ideutity of the individual iuteruet user aud the web

      server, as well as the usmc of the web page aud the search terms used to fiud it.                 These search
      terms aud the resultiug URLs divulge a user's personal iuterests, queries, aud habits ou third-paly

      websites operating outside of Facebook's own platform. Iu this mauuer, Facebook tracks
                 users'rowsiug
                 histories ou third-patTy websites aud compiles these browsing histoides iuto personal

      profiles which are sold to advertisers to generate revenue. is
              61.      For example, if Meta Pixel is iucorporated on a shopping website, it may log what
 10   searches a user perfoiTned, which items of clothiug a user clicked ou, whether they added au iteiu

      to their cart, as well as what they purchased. Along with this data, Facebook also receives

 12   personally identifying iufonuatiou like IP addresses, Facebook IDs, aud other data that allow
 13   Facebook to ideutify the user. All this persoually ideutifyiug data is iucluded each time the Meta
 14   Pixel forwards a user's iuteractions with a third-pmiy website to Facebook's servers. Once
 15   Facebook receives this iufonnation, Facebook processes it, analyzes it, and assimilates it mto
 16   datasets like its Core Audieuces aud Custoiu Audieuces. Facebook cau theu sell this iufotmatiou
 17   to compauies who wish to display advertisiug for products siuular to what the user looked at ou

      the oiigiual shoppiug website.
 19           62.      These couuuunications with Facebook happeu silently, without users'nowledge.
 20   By default, the trausuussion of iufoimatiou to Facebook's servers is iuvisible. Facebook's Meta
 21   Pixel allows third-party websites to scud            users'ersoual iufonnation          to match theiu with

 22   Facebook or Instagram profiles, eveu if they are uot logged iuto Facebook at the tune.
 23

 24
        See, eg., In re Facebook Inc. Interne/ Tracking Litigation, 956 F.3d 589, 596 (9th Cir. 2020) (explauung
 25   functionality of Facebook software code on third-party websites).
      ~ In re Facebook, 956 F.3d at 596.
      N In re Facebook, 956 F.3d at 596.

      ~ https://themarkup.org/show-your-work/2022/04/28/how-we-built-a-meta-pixel-inspector
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                 63.     In exchange for installing its Meta Pixel, Facebook provides website owners like

      Defendant with analytics about the ads they’ve placed on Facebook and Instagram and tools to

      target people who have visited their website.*°

                 64.   | Facebook shares analytic metrics with the website host, while at the same time

      sharing the information it collects with third-party advertisers who can then target users based on

      the information collected and shared by Facebook.

                 65.   | Facebook touted Meta Pixel (which it originally called “Facebook Pixel”) as “a

      new way to report and optimize for conversions, build audiences and get rich insights about how

      people use your website.”?! According to Facebook, the Meta Pixel is an analytics tool that allows

      business to measure the effectiveness of their advertising by understanding the actions people take

      on their websites.”

                 66.   | Facebook warns web developers that its Pixel is a personal identifier because it

      enables Facebook “to match your website visitors to their respective Facebook User accounts.”??

                 67.   | Facebook recommends that its Meta Pixel code be added to the base code on every

      website page (including the website’s persistent header) to reduce the chance of browsers or code

      from blocking Pixel’s execution and to ensure that visitors will be tracked.**

                 68.     Once Meta Pixel is installed on a business’s website, the Meta Pixel tracks users

      as they navigate through the website and logs which pages are visited, which buttons are clicked,

      the specific information entered in forms (including personal information), as well as “optional

      values” set by the business website.*° Meta Pixel tracks this data regardless of whether a user is




      3° https://themarkup.org/pixel-hunt/2022/06/16/facebook-is-receiving-sensitive-medical-information-from-hospital-
      websites

      3! https://developers.facebook.com/ads/blog/post/v2/2015/10/14/announcing-facebook-pixel/

      32 https://www.oviond.com/understanding-the-facebook-pixel
      33 https://developers.facebook.com/docs/meta-pixel/get-started

      34 https://developers.facebook.com/docs/meta-pixel/get-started

      35 https://developers.facebook.com/docs/meta-pixel/

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      logged into Facebook.* It is unclear how Facebook exploits the data collected from nonusers, but

      when asked by Congress about Facebook’s business practices, Mark Zuckerberg conceded that

      company maintains “shadow profiles” on nonusers of Facebook.*’

                 69.       For Facebook, the Meta Pixel tool embedded on third-party websites acts as a

      conduit for information, sending the information it collects to Facebook through scripts running

      in a user’s internet browser, similar to how a “bug” or wiretap can capture audio information. The

      information is sent in data packets, which include personally identifying data such as a user’s IP

      address.

                 70.       For example,      the Meta   Pixel    is configured    to automatically      collect “HTTP

      Headers”         and “Pixel-specific    data.’”** HTTP     headers   collect data    including    “IP addresses,

      information about the web browser, page location, document, referrer and person using the

      website.”*? Pixel-specific data includes such data as the “Pixel ID and the Facebook Cookie.””°

                 71.       Meta   Pixel takes the information it harvests         and sends      it to Facebook      with

      personally identifiable information, such as a user’s IP address, name, email, phone number, and

      specific Facebook ID, which identifies an individual’s Facebook user account. Anyone who has

      access to this Facebook ID can use this identifier to quickly and easily locate, access, and view a

      user’s corresponding Facebook profile. Facebook stores this information on its servers, and, in

      some instances, maintains this information for years.*!

                 72.       Facebook has a number of ways to uniquely identify the individuals whose data is

      being forwarded from third-party websites through the Meta Pixel.




      36 https://themarkup.org/pixel-hunt/2022/06/15/facebook-and-anti-abortion-clinics-are-collecting-highly-sensitive-
      info-on-would-be-patients

      37 https://techcrunch.com/2018/04/1 1/facebook-shadow-profiles-hearing-lujan-zuckerberg/

      38 https://developers.facebook.com/docs/meta-pixel/
      39 https://developers.facebook.com/docs/meta-pixel/
      40 https://developers.facebook.com/docs/meta-pixel/

      41 https://themarkup.org/pixel-hunt/2022/06/16/facebook-is-receiving-sensitive-medical-information-from-hospital-
      websites


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                 73.     If a user has a Facebook account, the user data collected is linked to the individual

      user’s Facebook account. For example, if the user is logged into their Facebook account when the

      user visits a third-party website where the Meta Pixel is installed, many common browsers will

      attach third-party cookies allowing Facebook to link the data collected by Meta Pixel to the

      specific Facebook user.

                 74.   — Alternatively, Facebook can link the data to a user’s Facebook account through the

      “Facebook        Cookie.”4”   The   Facebook      Cookie     is a workaround        to recent   cookie-blocking

      applications used to prevent websites from tracking users.**

                 75.     Facebook     can also link user data to Facebook               accounts   through   identifying

      information collected through Meta Pixel through what Facebook calls “Advanced Matching.”

      These are two forms of Advanced Matching: manual matching and automatic matching.** Manual

      matching requires the website developer to manually send data to Facebook so that users can be

      linked to data. Automatic matching allows Meta Pixel to scour the data it receives from third-

      party websites to search for recognizable              fields, including names        and email addresses that

      correspond with users’ Facebook accounts.

                 76.   | While the Meta Pixel tool “hashes” personal data—obscuring it through a form of

      cryptography before sending the data to Facebook—that hashing does not prevent Facebook from

      using the data.*° In fact, Facebook explicitly uses the hashed information it gathers to link pixel

      data to Facebook profiles.*°

                 77.     Facebook also receives personally identifying information in the form of user’s

      unique IP addresses that stay the same as users visit multiple websites. When browsing a third-

      party website that has embedded Facebook code, a user’s unique IP address is forwarded to


      * https://clearcode.cc/blog/facebook-first-party-cookie-adtech/
      4 https://clearcode.cc/blog/difference-between-first-party-third-party-cookies/

      4 https://www.facebook.comybusiness/help/6117746856546687?id=1205376682832142

      43 https://www.facebook.comybusiness/help/611774685654668?id=1205376682832142

      46 https://themarkup.org/pixel-hunt/2022/06/16/facebook-is-receiving-sensitive-medical-information-from-hospital-
      websites


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      Facebook by GET requests, wluch are triggered by Facebook code snippets. The IP address
      enables Facebook to keep track of the website page visits associated with that address.

               78.       Facebook also places cookies ou visitors'omputers. It then uses these cookies to

      store infonuatiou about each user. For exatuple, the "c user" cookie is a uuique ideutifier that

      ideutifies a Facebook user's ID. The c user cookie value is the Facebook equivaleut of a user

      ideutification munber. Each Facebook user has oue —aud ouly one —uuique c user cookie.

      Facebook uses the c user cookie to record user activities aud commuuicatious.
               79.       The data supplied by the c user cookie allows Facebook to ideutify the Facebook

      accouut associated with the cookie. One simply needs to log into Facebook, aud theu type
 10   www.facebook.corn/¹, with the c user identifier iu place of the "¹." For example, the           c   user


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      '7
      cookie for Mark Zuckerberg is 4. Loggiug iuto Facebook and typing www.facebook.corn/4 iu the

      web browser retrieves Mark Zuckerberg's Facebook page: www.facebook.corn/zuck.

               80.




               81.
                         Similarly, the "lu" cookie ideutifies the last Facebook user who logged in usiug a

      specific browser. Like IP addresses, cookies are iucluded with each request that a user's browser

      makes to Facebook's servers. Facebook employs similar cookies such as "datr," "fi," "act,"
      "presence," "spiu," "wd," "xs," aud "fbp" cookies to track users ou websites across the iuteruet.

      These cookies allow Facebook to easily liuk the browsiug activity of its users to their real-world

      ideutities, as well as such highly sensitive data as medical infounatiou, religiou, aud political

      preferences.

                         Facebook also uses browser fiugeipriutiug to uuiquely identify iudividuals. Web

      browsers have several attributes that vary betweeu users, like the browser sofhvare system,

      plugins that have been iustalled, fouts that are available ou the system, the size of the screen, color

      depth, aud more. Together, these attributes create a fiugerpriut that is highly distiuctive. The



        https://techexpertise medium.corn/facebook-cookies-aualysis-
      e 1 c f6ffbdfga¹:-:text=browser /e20session%20ends.-
      ,%E 2% 80%9 Cdatr /oE 2% 8 0% 9D,security'/o 2 0and% 2 0 site%20 integrity'/o2 0 fea au es.
      u https://securehomes.esat.kuleuven.be/-gacar/fb tracking/tb~lugius.pdf

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       likelihood that two browsers have the saute fiugeipiint is at least as low as   1   iu 286,777, aud the

       accuracy of the fiugerpriut iucreases wheu combiued with cookies aud the user's IP address.

       Facebook recognizes a visitor's browser fmgerprint each time a Facebook buttou is loaded ou a

       tlurd-party website page. Using these vaidous methods, Facebook cau ideutify iudividual users,
       watch as they browse third-party websites like https://www.adveutisthealth.org/, aud target users
       with adveitising based ou their web activity.
       F. Defendant has discreetly embedded the Meta Pixel tool on its webslte, resulting in the
          capture and disclosure of patients'nd users'rotected health information to
          Facebook.
                 82.   A third-party website that iucorporates Meta Pixel beuefits from the ability to
 10   aualyze a user's experience aud activity on the website to assess the website's fuuctiouality aud
      traffic. The third-party website also gaius information trom its customers through Meta Pixel that

 12   cau be used to target them with advertisements, as well as to measure the results of advettisiug
 13   efforts.
 14              83.   Facebook's iutmsion into the persoual data of visitors to third-party websites
 15   incorporatiug the Meta Pixel is both significaut and uuprecedeuted. When Meta Pixel is
 16   iucoiporated iuto a third-party website, uubeknowust to users aud without their couseut, Facebook
 17   gaius the ability to surreptitiously gather every user iuteraction with the website raugiug fiom what

      the user clicks on to the persoual uifounatiou eutered on a website search bar. Facebook aggregates
 19   this data agaiust all websites.    Facebook beuefits fioiu obtaiuing this infouuation because it
 20   improves its advertising uetwork, iucludiug its machine-leat7turg algoritluus aud its ability to
 21   identify aud target users with ads.
 22              84.   Facebook provides websites usiug Meta Pixel with the data it captures iu the "Meta
 23   Pixel page" iu Eveuts Mauager, as well as tools aud analytics to reach these iudividuals through
 24   future Facebook ads.so For example, websites cau use this data to create "custom audiences" to
 25

 26
       u https://www.facebook.corn/business/help/742478679120153?id=1205376682832142
 27    ~ hops://www.facebook.corn/business/help/742478679120153?id=1205376682832142
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     target the specific Facebook user, as well as other Facebook users who match “custom audience’s”

     criteria.°! Businesses that use Meta Pixel can also search through Meta Pixel data to find specific

     types of users to target, such as men over a certain age.

                 85.          Meta   Pixel is wildly popular with businesses              and embedded     on millions   of

     websites. Shockingly, Meta Pixel is incorporated on many websites that are used to store and

     convey sensitive medical information, which by law must be kept private. Recently, investigative

     journalists have determined that Meta Pixel is embedded on the websites of many of the top

     hospitals in the United States.°” This results in sensitive medical information being collected and

     then sent to Facebook when a user interacts with these hospital websites. For example, when a user

     on many of these hospital websites clicks on a “Schedule Online” button next to a doctor’s name,

     Meta   Pixel sends          the text of the button,     the doctor’s name,           and the search term (such as

     “cardiology”) used to find the doctor to Facebook. If the hospital’s website has a drop-down menu

     to select a medical condition in connection with locating a doctor or making an appointment, that

     condition is also transmitted to Facebook through Meta Pixel.

                 86.          Facebook has designed the Meta Pixel such that Facebook receives information

     about patient activities on hospital websites as they occur in real time. Indeed, the moment that a

     patient takes any action on a webpage that includes the Meta Pixel—such as clicking a button to

     create an appointment—Facebook                code embedded             on that page redirects the content of the

     patient’s communications to Facebook while the exchange of information between the patient and

     hospital is still occurring.

                 87.          Defendant is among the hospital systems who have embedded Meta Pixel on their

     websites.         When     a prospective   or actual    patient        enters   their personal   information   through

     Defendant’s         websites     that incorporate   Meta      Pixel,     such   as to locate a doctor    or make    an

     appointment, this information, including what the patient is being treated for, is immediately and



      >! https://developers.facebook.com/docs/marketing-api/reference/custom-audience/

      >» https://themarkup.org/pixel-hunt/2022/06/16/facebook-is-receiving-sensitive-medical-information-from-hospital-
      websites

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      iustautaueonsly trausmitted to Facebook via tbe Meta Pixel. Tbe acqnisitiou aud disclosure of these
      commuuicatious occurs coutemporaueously with the transuussiou of these couuuunicatious by

      patients.

                  88.          This data, which cau iuclude health couditious (e.g., addictiou, heart disease,

      caucer), diaguoses, procedures, test results, the treatiug physiciau, medications, and other

      persoually ideutifyiug infounatiou ("Personal Health Infounatiouw), is obtamed and used by
      Facebook, as well as other parties, for the ptupose of targeted advetrisiug.

                  89.          For example, a visitor searchiug for a doctor ou Defendaut's website is asked to

      provide a variety of iuformatiou to filter the various physicians available to treat various medical
 10   couditious, iucludiug the doctor's specialty aud the prospective or actual patient's location:


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 13
            )w ToRRANCE
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            ~'0                          Ccsi'~"                                                                                        Tonanoe Memo rl ~ I phyrleiao Network
 14             MEMORIAL             i


            Find a Doctor                        Medical Care                              Locations                  Patients tk Visitors-
 15
            ttosar Fnaanomor
 16

 17         Find a Doctor
                First Name                                         Last Name                                    Gordm
                                                                                                                    Naia
 19             Speciahles                                                                  Languages
                  Cardiology
 20
                Address, City or ZIP Code                                                                                  Radius

 21               Los Angeles, CA USA                                                                                       25 miles



 22             0   Show only Torrance Memormi   IPA   Providera
                0   show only Torrance Memorial physician Network provlders
 23
                I SearchJ
 24

 25
                  90.          When a patieut clicks on the "search" button, Defeudant's website generates a list
 26
       of providers that a patieut cau review aud choose from
 27

 28    CASE No.                                                                 —   20—

                                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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 10



 12              91.            All the data about patients'uteractions with Defendant's website is disclosed to

 13   Facebook siundtaueously in real time as visitors trausmit their infounatiou, such as the doctor

 14   they choose for treatmeut, the doctor's specialty, the patieut's location, aud the patient's language

 15   aud gender prefereuces. Along with other data, Defendant also discloses                                              patients'nique
 16   Facebook IDs, which are captured by the c user cookie, winch allows Facebook to link this

 17   iufouuatiou to patieuts'uique Facebook accounts. Defeudaut also discloses other persoually
      identifyiug information to Facebook, such as patient aud user IP addresses, cookie ideutifiers,

 19   browser-fiugerprints, and device identifiers.

 20              92.            Likewise, Defeudaut allows patients to search for iufouuatiou about "Medical

 21
      Care" orgauized by specialty, such as MCaucer,s "Heart Health," "Orthopedics, and MMaterual and

 22   Child." A patient searchiug for infounatiou about cancer treatiuent or preguaucy, however, uot

 23   only shares their persoual data with Defeudaut but also uukuowiugly shares their persoual data

 24   with Facebook.

 25              93.            Defeudant discloses such persoually identifying iufortuation and sensitive medical

 26   iufouuatiou even when patients or users are searchiug for doctors to assist them with couditious

 27   such as substauce abuse and addiction:

 28   CASE No.                                                                       —   21—

                                                           CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                                        Search Torrance Memorial
               substance abuse                                                                                             Search




           Related Pages
           Found 34 pages matching the search term substance abuse



                        hatstety Parent Needs to snow
                      Substance use and abuse dunng adolescence can have permanent consequences
                      2/27/201 8
 10

           ~ T%        Medication Assisted Treatment

                      Medication asusted treatment (MAT) for substance use disorders at the Therma McMiaen Center for Alcohol and Drug Treatment.
 12            s
                      2/27/2018

 13
                       tattattbs ts School h 3031: li Parent's Survival Guide
 14        )ha
            t/        9/23/2021
           l
 15

 16                    Msntsluesltbes ner

                      Our feekngs and thoughts are connected Our feebngs are always correct and result from our thinlcng Our thinking can be inaccurate,
 17                   distorted or based on old informaaon
                      8/28/2022



 19
               94.       As the above demonstrates, knowing what information a patient is reviewiug on
 20   Defeudant's website can reveal deeply persoual and private infounation. A simple search for
 21
      "pregnancy" ou Defeudaut's website tells Facebook that the patient is likely preguaut. tudeed,
 22
      Facebook uiight know that the patient is pregnant before the patient's close family and fidends.
 23
      Likewise, uiost patieuts would uot want it made public that they were seekiug treatment for
 24   substauce abuse. But there is nothiug visible ou Defeudaut's website that would iudicate to
 25
      patients that, when they use Defendant's search fimctiou, their personally identifiable data aud
 26
      the precise coutent of their couununications with Defendant are being automatically trausmitted
 27

 28   CASE No.                                                           —      22—

                                             CLAss ACTIDN CoMPLAINT AND DEMAND F0R JURY TRIAL
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      to Facebook for advertising purposes—even                 when patients search for treatment options for

      sensitive medical conditions such as cancer or substance abuse.

                 95.    Defendant also discloses prospective and actual patient information from other

      sections of its website including (but not limited to) communications that are captured by the

      website’s search bar, communications that are captured when a patient searches for classes and

      services offered by Defendant, and communications made when patients are researching specific

      medical conditions. The information that Facebook receives from Defendant includes a                      full-

      string, detailed URL, which contains such information as the name of the website, the pages

      patients     are viewing,   and   search   terms    that patients   have   entered.   Along   with   patients’

      communications, Defendant’s website also causes the transmission of personally identifying data

      to Facebook, including patients’ IP addresses, cookie identifiers, browser fingerprints, and device

      identifiers.

                 96.    By compelling visitors to their websites to disclose personally identifying data and

      sensitive medical information to Facebook,            Defendant knowingly disclosed information that

      allows Facebook and other advertisers to link patients’ and visitors’ Personal Health Information

      to their private identities and target them with advertising (or do whatever else Facebook may

      choose to do with this data, including running “experiments” on its customers by manipulating

      the information they are shown on their Facebook pages).°? Defendant intentionally shares the

      Personal Health Information of its patients with Facebook in order to gain access to the benefits

      of the Meta Pixel tool.

                 97.    For example, Plaintiff Jane Doe is an individual with a Facebook account who has

      also been a patient at Torrence Memorial Hospital. Plaintiff Jane Doe visited Defendant’s website

      at www.torrencememorial.org approximately seven times and entered data, including sensitive

      medical information, such as details about her medical condition and search for a doctor. The



      % https://www.theatlantic.com/technology/archive/2014/06/everything-we-know-about-facebooks-secret-mood-
      manipulation-experiment/373648/



      CASE NO.                                           —23-

                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      iufouuatiou that Plaiutiff Jane Doe transmitted included queries about treatmeut for a coucussiou
      that she had suffered.

             98.      Defendaut knew that by embedding Meta Pixel—a Facebook advertisiug tool—it

      was pertnittiug Facebook to collect, use, and share Plaiutiff s aud the Class Members'ersonal

      Health tufoimatiou, iucludiug seusitive medical infouuation and personally ideutifyiug data.

      Defeudaut was also aware that such information would be shared with Facebook simultaueously

      with patieuts'uteractious with its websites. Defendant made the decision to barter its
                 patieuts'ersonal
                 Healthcare htformatiou to Facebook because it wauted access to the Meta Pixel tool.

      While that bargaiu may have beuefited Defendaut aud Facebook, it also betrayed the privacy
 10   rights of Plaiutiff aud Class Meiubers.
 11   G. Plaintiff and the Class Members did not consent to the interception and disclosure of
         their protected health information.
 12
             99.      Plaiutiff aud Class Members had uo idea wheu they iuteracted with Defeudaut's
 13
      websites that their personal data, includiug sensitive medical data, was beiug collected aud
 14
      siuuiltaneously transmitted to Facebook. That is because, aiuong other thiugs, the Meta Pixel tool
 15
      is seamlessly aud secretly iutegrated iuto Defendaut's websites aud is invisible to patients visitiug
 16
      those websites.
 17
              100.    For example, when Plaiutiff Jane Doe visited Defeudant's website at
 18
      https://www.torrancememorial.org/, there was uo iudication that Meta Pixel was embedded ou
 19
      that website or that it would collect aud transmit her sensitive iuedical data to Facebook.
 20
              101.      Plaintiff and fellow Class Meuibers could uot conseut to Defendaut's couduct
 21
      wheu there was uo iudicatiou that their seusitive medical information would be collected aud
 22
      transuiitted to Facebook in the first place.
 23
              102.    While Defeudant purports to have a "Privacy Notice," that Privacy Notice is
 24
      effectively hiddeu froiu patieuts, concealed at the bottom of Defendant's homepage iu type so
 25
      small as to be unreadable to many visitors':
 26

 27    https://www.torrancememorial.org/
 28   CASE No.                                       —   24—

                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                                                                                                     f41)
                     Bracihan-Style Chicken and Rice                  annual Health Screenings for Every   Know Your Numbers!
                     u   or u mr c   cow   rw   me   a   I   nw   n   Swllol'                              a nnnml vn   n Inurn     oowuun



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 10
                   103.        Moreover, Defendant's "Website Privacy Notice" gives no indication to patients
 11
      that Defendant routinely allows Facebook to caphue and exploit                                         patients'ud users'ersonal
 12
      Health Information. Iudeed, Defeudant expressly prouused iu its "Website Privacy Notice" that
 13
      "Your privacy is very ituportaut to us" and that Defeudaut "will not sell or otherwise provide the

      infonuation that we collect to outside third patties for the purpose of direct or indirect mass email
      marketing."ss These statemeuts are false and uusleadiug because Defeudant iu fact discloses
 16
      patients'ersoual Health information to Facebook                                           so that Facebook can solicit patients with
 17
      adveITIsnlg.

                   104.        Defeudant also prouused iu its "Website Privacy Notice" that it would "follow
 19
      generally accepted iudustry staudards to protect the information subuutted to us, both during
 20
      transutission and once we receive it."                                    This statement is also false aud misleading because
 21
      hospital systems who cotuply with geuerally accepted iudustry staudards for protectiug
 22

 23
                   patieuts'ersonal
                    Health Infouuatiou do uot deploy source code on their websites that results iu
                   patients'ersonal
                    Health Infortuatiou being disclosed to third-party adveITisiug companies.
 24

 25

 26
      SS
           https://www.totrancememorial.orttwebsite-privacy-notice/
 27        https://www.totrancememorial.org/website-privacy-notice/
 28   CASE No.                                                                  —   25—

                                                         CLAss ACTIDN CoMPLAINT AND DEMAND F0R JURY TRIAL
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                    105.   Defeudant also falsely prouuses patients iu its "Website Pidvacy Policy" that its

      policy "will iufonu you of the infonuation that we, Toirauce Memorial, may collect fiom you,
       and how it is used." This statement is false and misleadiug because Defeudant uowhere discloses

       iu its "Website Privacy Policy" that patieuts'ersoual Health Iufonnatiou is routiuely disclosed

      to Facebook wheu patieuts iuteract with Defeudaut's website.

                    106.   Similarly, while disclosiug that its website contains "cookies," Defendant falsely

      promises that "tu]sage of a cookie is iu uo way lurked to any persoually identifiable infonuatiou
       on our site." Contrary to that prouuse, Defeudaut's website automatically transmits persoually

       ideutifyiug iufonnation to Facebook via multiple cookies, includiug the c user cookie (Le., the
 10    "Facebook cookie") which permits Facebook to link            users'ebsite   queries to their Facebook

      profiles.
 12                 107.   Even if a visitor stumbled upon Defendaut's carefully hidden "Website Privacy
 13   Notice," uothing iu that uotice would be understood by any reasouable prospective or cuirent
 14   patient to meau that Defeudaut is barteriug its patients'ersoual Health Iufonuatiou in retmu for
 15   access to Facebook's Meta Pixel tooL Iudeed, Defeudant expressly promises that it will not sell or
 16   otherwise provide the iufonnatiou it collects to outside third parties. Accordingly, Patieuts visitiug
 17   Defendaut's website likely feel assured that their commuuications about medical conditions such

      as addiction, cancer, and pregnaucy will remaiu private, not realiziug that Defendaut has already

 19   trausmitted this private mfonuatiou to Facebook, so that Facebook cau mouetize this iufonuatiou
 20   by seudiug targeted couteut aud advertisemeuts to patieuts.
 21                 108.   Defendaut's promises are uusurpiising. Defendant does uot have a legal right to
 22   share Plaiutiff s aud Class Members'rotected Health Iufonnatiou with Facebook, because this

 23   iufonuatiou is protected fiom such disclosure by law. See, e.g., CAL. CIv. CODE       ItIF   56 e/ ser7.; 45

 24   C.F.R.   II   164.508. Defendant is uot permitted to disclose patients'rotected Health Iufonuation to

 25

 26

 27   st https://www.torrancememorial.org/website-privacy-notice/

 28    CASE No.                                       —   26—

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      au advertisiug and marketing compauy like Facebook without express widtten authorization fiom

      patients.
                  109.   Defendaut failed to obtain a valid written authorization from Plaiutiff or any of the

      Class Members to allow the capture aud exploitatiou of their persoually identifiable iufonuatiou

      aud the couteuts of their commuuicatious by third parties for their owu direct marketiug uses.

      Moreover, uo ndrfi Jionn1 privacy breach by Facebook is uecessary for harm to have accrued to

      Plaintiff aud Class Members; the secret disclosure by Defendant of its patieuts'ersoual Health
      Infonuatiou to Facebook meaus that a siguificaut privacy iujmy has nJI endy occiirred.
                  110.   Likewise, a prospective or current patient's reasonable expectation that their health
 10   care provider will uot share their information with third parties for marketing pmposes is uot

      subject to waiver via an iuconspicuous privacy policy hiddeu away ou a compauy's website. Such
 12   "Browser-Wrap" stateiueuts do not create an enforceable contract agaiust cousmners. FIDTher,
 13   Defendant expressly promised that it would uot sell, reut, liceuse, or trade their personally
 14   identifiable iufonuatiou for marketing pmposes without express authorizatiou.
 15               111.   Neither Plaintiff uor Class Members kuowingly consented to Defeudaut's
 16   disclosure of their Persoual Health Iufonuatiou to Facebook. Nowhere iu Defeudaut's privacy
 17   policy is it disclosed that Defeudaut routiuely trausuuts patients'ersoual Health Iufonnation to
      third party advertisiug coiupanies like Facebook so that those companies can monetize and exploit
 19   patients'ealth data. Without disclosiug such practices, Defeudaut cauuot have secured conseut
 20   &om Plaiutiff aud Class Members for the disclosure of their Persoual Health Iufonnatiou to

 21   Facebook aud other third-party advertising compauies.
 22               112.   Accordingly, Defeudaut lacked authorizatiou to intercept, collect, aud disclose
 23   Plaintif's and Class Members'ersoual Health Iufonnatiou to Facebook or aid iu the same.
 24    H. The disclosures of personal patient data to Facebook are unnecessary.
 25               113.   There is uo information auywhere ou the websites operated by Defeudaut that
 26    would alert patients that their most private iufonuatiou (such as their identifiers, their medical
 27

 28    CASE No.                                      —   27—

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      couditious, aud their medical providers) is beiug automatically trausiuitted to Facebook. Nor are

      the disclosures of patieut Persoual Health Iufonuatiou to Facebook necessary for Defeudaut to

      maiutaiu their healthcare website or provide medical services to patieuts.

              114.   For exainple, it is possible for a healthcare website to provide a doctor search
      fimctiou without allowiug disclosures to third-patty advertisiug compauies about patieut sigu-ups

      or appointmeuts. It is also possible for a website developer to utilize tracking tools without

      allowiug disclosure of patients'ersonal Healthcare Iufonuatiou to companies like Facebook.
      Likewise, it is possible for Defeudaut to provide medical services to patients without shariug their

      Persoual Health Iuforinatiou with Facebook so that this information cau be exploited for
 10   advertisiug piuposes.
              115.   Despite these possibilities, Defeudaut willfidly chose to implemeut Meta Pixel ou
 12   its websites and aid m the disclosure of personally ideutifiable information aud seusitive medical

 13   iufonuatiou about its patieuts, as well as the coutents of their comuumicatious with Defeudaut, to
 14   third parties, iucludiug Facebook.
 15   I. Plaintiff and Class Members have a reasonable expectation of privacy in their Personal
         Health Information, especially with respect to sensitive medical information.
 16
              116.   Plaintiff and Class Members have         a   reasonable expectation of privacy in their
 17
      Personal Health Information, including persoually identifyiug data and sensitive medical
 18
      iufonuatiou. Defeudant's surreptitious interception, collectiou, aud disclosure of Persoual Health
 19
      Information to Facebook violated Plaintiff and Class Member's privacy interests.
 20
              117.   Patient health iufonuation is specifically protected by law. The prohibitions
 21
      agaiust disclosiug patieut Persoual Health Iufonuatiou iuclude prohibitious agaiust disclosiug
 22
      personally ideutifying data such as patient names, IP addresses, and other Iuiique characteristics
 23
      or codes. See, e.g., CAL. Crv. CDDE   $   56.05 ("iuedical iufonnatiou"); 45 C.F.R.   $   164.514.
 24
              118.   Giveu the applicatiou of these laws to Defeudaut, coupled with Defendaut's
 25
      express promises that they would protect the confideutiality of             patients'ersonal Health
 26

 27

 28   CASE No.                                      —   28—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      Information, Plaintiff and the Members of the Class had a reasonable expectation of privacy in

      their protected health information.

                 119.      Several studies examining the collection and disclosure of consumers’ sensitive

      medical     information       confirm      that the disclosure               of sensitive         medical    information    violates

      expectations of privacy that have been established as general social norms.

                 120.      Polls   and     studies      also     uniformly         show   that    the     overwhelming      majority    of

      Americans consider one of the most important privacy rights to be the need for an individual’s

      affirmative consent before a company collects and shares its customers’ data.

                 121.      For example, a recent study by Consumer Reports showed that 92% of Americans

      believe that internet companies and websites should be required to obtain consent before selling

      or sharing consumers’              data, and the same percentage believed that internet companies                                and

      websites should be required to provide consumers with a complete list of the data that has been

      collected about them.°®

                 122.      Users act consistently with these preferences. For example, following a new rollout

      of the iPhone operating software—which asks users for clear, affirmative consent before allowing

      companies to track users—85 percent of worldwide users and 94 percent of U.S. users chose not

      to share data when prompted.”

                 123.      “Patients      are   highly         sensitive      to   disclosure      of     thei    health   information,”

      particularly because it “often involves intimate and personal facts, with a heavy emotional

      overlay.” Peter A. Winn,              Confidentiality in Cyberspace:                 The HIPAA             Privacy Rules and the

      Common        Law,      33   RuTGerRs          L.J.      617,     621    (2002).    Unsurprisingly,           empirical    evidence

      demonstrates that “[w]hen asked, the overwhelming majority of Americans express concern about

      the privacy of their medical records.” Sharona Hoffman & Andy Podgurski, E-Health Hazards:




      >8 https://www.consumerreports.org/consumer-reports/consumers-less-confident-about-healthcare-data-privacy-
      and-car-safety-a3980496907/

      » https://www.wired.co.uk/article/apple-ios
                                         14-facebook

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      Provider Liabi/itv and Etectronic Health Record Svstems, 24                BERKELEY       TECH L.J. 1523, 1557

      (2009).

                124.    The concern about sharing personal medical infounatiou is compounded by the

      reality that advertisers view this type of infounation as particularly valuable. Indeed, having
      access to the data womeu share with their healthcare providers allows advertisers to obtaiu data

      on cluldreu before they are even boin. As oue recent article noted, "What is particularly worrying

      about this process of dataficatiou of children is that companies like [Facebook] are hauiessiug aud

      collectiug multiple typologies of childreu's data and have the potential to store a plurality of data

      traces uuder uuique ID profiles."
 10             125.    Mauy privacy law experts have expressed serious couceins about
                 patieuts'eusitive
                 medical iufonnatiou beiug disclosed to third-party companies like Facebook. As those
 12   critics have pointed out, havmg a patieut's Personal Health Infonuatiou disseminated in ways the
 13   patieut is uuaware of could have serious repercussious, iucludiug affectiug their ability to obtaiu
 14   life iusurauce, how much they might pay for such coverage, the rates they might be charged ou

 15   loans, and the likelihood of their being discruninated against.
 16             126.    PlaintiQ's Persoual Health Iufouuatiou that Defeudaut collected, iuonitored,
 17   disclosed, and used is Plaiutiff's property, has ecouomic value, and its illicit disclosure has caused

      Plaiutiff harm.
 19             127.    It is commou kuowledge that there is au ecouomic market for cousmuers'ersonal
 20

 21

 22

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 24



 26

 27

 28
      '5
      data—iucludiug the kiud of data that Defendaut has collected aud disclosed Irom Plaintiff aud

      Class Members.

                128.    Iu 2013, the Financia/ Times reported that the data-broker iudustiy profits fioiu
      the trade of thousauds of details about individuals, aud that withiu that context, "age, gender aud

      locatiou iuforination" were beiug sold for approxiuiately "$ 0.50 per 1,000 people."



       https://thereader.mitpress.mit.edu/tech-couxpaxues-are-profxliug-us-&om-before-birtlx/
      'ttps://ig ft.corn/how-touch-is-your-persoxxat-data-u orth/
      CASE No.                                          —   30—

                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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               129.     Iu 2015, TechCrmtch repoired that "to obtaiu a list coutaiuing the uames of
      iudividuals sufferiug &om a particular disease," a market participant would have to spend about
      "$ 0.30" per usmc.       That same article uoted that "Data has become a strategic asset that allows

      compauies to acquire or maiutaiu a competitive edge" and that the value of a siugle user's data

      can vary from $ 15 to more thau $ 40 per user.

               130.     Iu a 2021 Washington Post article, the legal scholar Dina Sriuivasau said that
      coustuners "should think of Facebook's cost as [their] data aud scrutiuize the power it has to set

      its own price."~ This price is ouly iucreasiug. According to Facebook's owu ftuaucial statements,

      the value of the average American's data in advertisiug sales rose &om $ 19 to $ 164 per year
 10   between 2013 aud 2020.
                      '31.
                        Despite the protections afforded by law, there is au active market for health
 12   infouuatiou. Medical information obtained fiom health providers garners substautial value
 13   because of the fact that it is uot geuerally available to third party data Iuarketiug compauies
 14   because of the strict restrictious ou disclosure of such infonuatiou by state laws aud provider
 15   staudards, mcluding the Hippocratic oath. Even with these restrictions, however, a multi-billiou-
 16   dollar market exists for the sale aud purchase of such private medical iufonuatiou.
 17            132.     Ftuther, iudividuals cau sell or monetize their owu data if they so choose. For
      example, Facebook has offered to pay iudividuals for their voice recordings,si aud has paid
 19   teeuagers aud adults up to $ 20 per mouth plus referral fees to utstall au app that allows Facebook
 20   to collect data on how iudividuals use their smart phoues.

 21
        https://tee hcrunch. cont/201 5/10/I 3/whats-the-vahte-of-your-data/
        https://techcrunch.cont/2015/10/13/whats-the-value-of-your-data/
 23   ~ https://www.wasbingtoupost.corn/tectmology/2021/08/29/facebook-prb acy-tuonopoly/
 24     https://www.washingtoupost.corn/technology/2021/08/29/facebook-privacy-ruouopoly/
        https://revealnews.org/blog/your-medical-data-is-for-sale-and-theres-nothing-you-can-do-about-it/; see a/so
 25   httpstlls/ote.contltechnologyl2022/06lhea/th-data-brokers-privacy. hnn/
 26   ~ https://www.theverge.cont/2020/2/20/21145584/facebook-pay-record-voice-speech-recognition-vdewpoutts-
      proununciations-app
      w https://www.cube.corn/2019/01/29/facebook-payiug-users-to-install-app-to-collect-data-techcuutch htud

 28   CASE No.                                            —   31—

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               133.    A myriad of other compauies and apps such as DataCoup, Nielsen Computer, Killi,
      and UpVoice also offer consumers mouey iu exchauge for access to their personal data.

               134.    Given the monetaiy value that data compauies like Facebook have already paid for

      persoual information iu the past, Defeudaut has depidved Plaiutiff aud the Class Members of the
      ecouomic value of their seusitive medical iufouuation by collectiug, usiug, aud disclosiug that

      infouuatiou to Facebook without consideration for Plaiutiff aud the Class Member's property.
  7   J. Defendant is enriched by making unlawful, unauthorized, and unnecessary disclosures
          of patients'nd users'rotected health information.
  8
               135.    Iu exchange for disclosiug Personal Health tufoiiuation about its patieuts and
  9
      users, Defeudaut is compeusated by Facebook with euhauced onliue advertising services,
 10
      including (but not limited to) retargeting and enhanced aualytics ftmctious.
 11
               136.    Retargetiug is a form of ouline targeted advertising that targets users with ads
 12
      based ou their previous iuteiIIet actious, which is facilitated through the use of cookies aud
 13
      trackiug pixels. Once an iudividual's data is disclosed and shared with a third-party marketing
 14
      compauy, the advertiser is able to show ads to the user elsewhere on the internet.
 15
               137.    For example, retargetiug could allow a web-developer to show advertisemeuts ou
 16
      other websites to customers or potential customers based on the specific comiminications
 17
      exchauged by a patieut or their activities on a website. Usiug the Meta Pixel, a website could
 18
      target ads ou Facebook itself or on the Facebook advertisiug network. The same or suuilar
 19
      advertisiug can be accomplished via disclosures to other third-party advertisers aud marketers.
 20
               138.    Ouce personally ideutifiable iufoiination relating to patient comunuiications is
 21
      disclosed to third parties like Facebook, Defeudaut loses the ability to control how that
 22
      infounation is subsequently disseminated aud exploited.
 23
               139.    The iuonetization of the data beiug disclosed by Defeudant, both by Defeudant and
 24
      Facebook, demoustrates the iuhereut value of the information beiug collected.
 25

 26
        https://www.cteditdonkey.cont/hest-spps-data-collection.html; see also
 27   htt/ts:llinonmanet/ta to!b/og/t etcardsleatn-tttoney Pottt yoardataj
 28   CASE No.                                         —   32—

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      K. Facebook’s History of Egregious Privacy Violations

                 140.       Defendant knew or should have known that Facebook could not be trusted with its

      patients’ sensitive medical information.

                 141.       Due to its ability to target individuals based on granular data, Facebook’s ad-

      targeting capabilities have frequently come under scrutiny. For example, in June 2022, Facebook

      entered into a settlement with the Department of Justice regarding its Lookalike Ad service, which

      permitted         targeted   advertising   by   landlords    based   on    race   and   other    demographics        in a

      discriminatory manner. That settlement, however, reflected only the latest in a long history of

      egregious privacy violations by Facebook.

                 142.       In 2007, when Facebook launched “Facebook Beacon,” users were unaware that

      their online activity was tracked, and that the privacy settings originally did not allow users to

      opt-out. As a result of widespread criticism, Facebook Beacon was eventually shut down.

                 143.       Two years later, Facebook made modifications to its Terms of Service, which

      allowed Facebook to use anything a user uploaded to its site for any purpose, at any time, even

      after the user ceased using Facebook. The Terms of Service also failed to provide for any way for

      users to completely delete their accounts. Under immense public pressure, Facebook eventually

      returmed to its prior Terms of Service.

                 144.       In 2011, Facebook settled charges with the Federal Trade                  Commission relating to

      its sharing of Facebook user information with advertisers, as well as its false claim that third-party

      apps were able to access only the data they needed to operate when—in fact—the apps could

      access nearly all of a Facebook user’s personal data. The resulting Consent Order prohibited

      Facebook from misrepresenting the extent to which consumers can control the privacy of their

      information, the steps that consumers must take to implement such controls, and the extent to

      which Facebook makes user information available to third parties.”




      7 https://www.ftc.gov/legal-library/browse/cases-proceedings/092-3        184-182-3 109-c-4365-facebook-inc-matter

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                 145.   Facebook found itself in another privacy scandal in 2015 when it was revealed that

      Facebook could not keep track of how many developers were using previously downloaded

      Facebook user data. That same year, it was also revealed that Facebook had violated users’ privacy

      rights by harvesting and storing Illinois’ users’ facial data from photos without asking for their

      consent or providing notice. Facebook ultimately settled claims related to this unlawful act for

      $650 million.
                 146.   In 2018, Facebook was again in the spotlight for failing to protect users’ privacy.

      Facebook representatives testified before Congress that a company called Cambridge Analytica

      may have harvested the data of up to 87 million users in connection with the 2016 election. This

      led to another FTC investigation in 2019 into Facebook’s data collection and privacy practices,

      resulting in a record-breaking five-billion-dollar settlement.

                 147.   Likewise,   a different 2018 report revealed that Facebook had violated users’

      privacy by granting access to user information to over 150 companies.’! Some companies were

      even able to read users’ private messages.

                 148.   In June 2020, after promising users that app developers would not have access to

      data if users were not active in the prior 90 days, Facebook revealed that it still enabled third-

      party developers to access this data.” This failure to protect users’ data enabled thousands of

      developers to see data on inactive users’ accounts if those users were Facebook friends with

      someone who was an active user.

                 149.   On February     18, 2021, the New York State Department of Financial Services

      released a report detailing the significant privacy concerns associated with Facebook’s data

      collection practices, including the collection of health data. The report noted that while Facebook

      maintained a policy that instructed developers not to transmit sensitive medical information,

      Facebook received, stored, and analyzed this information anyway. The report concluded that




      7! https://www.cnbe.com/2018/12/19/facebook-gave-amazon-microsoft-netflix-special-access-to-data-nyt.html

      ? https://fortune.com/2020/07/01/facebook-user-data-apps-blunder/

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      "[t]he iufottuatiou provided by Facebook has tuade it clear that Facebook's internal connols ou
      this issue have beeu very liuuted and were uot effective ... at preventiug the receipt of seusitive

      data."'50.
                        The New York State Depathneut of Fiuaucial Service's couceut about Facebook's

      cavalier treatmeut of private medical data was uot uusplaced. Iu Joe 2022, the FTC fiualized a

      differeut settlement iuvolving Facebook's mouetizing of sensitive medical data. Iu that case, the

      more thau 100 uulliou users of Flo, a period aud ovulatiou trackiug app, leatned something
      startliug: the company was sharing their data with Facebook.I4 When a user was haviug her period

      or infouned the app of her intention to get pregnaut, Flo would tell Facebook, which could then

 10   use the data for all kiuds of activities iucludiug targeted advertising. In 2021, Flo settled with the
      Federal Trade Couuuissiou for lying to its users about secretly shariug their data with Facebook,
 12   as well as with a host of other iuternet advertisers, including Google, Fabric, AppsFlyer, and

 13   FlmTy. The FTC reported that Flo "took uo action to limit what these cotupauies could do with

 14   users'ufotutatiou."Is
 15            151.     More recently, Facebook employees admitted to lax protectious for seusitive user
 16   data. Facebook eugiueers ou the ad business product teatu couceded iu a 2021 privacy review that

 17   "We do uot have au adequate level of control aud explaiuability over how our systems use data,

      and thus we cau't confidently make coutrolled policy chauges or exterual commitmeuts such as
 19   'we will not use X data for Y pmpose."

 20            152.     These revelations were confurued by au article published by the Markup iu 2022,

 21   wlfich found during the course of its iuvestigatiou that Facebook's purported "filtering" failed to

 22   discard eveu the most obvious forms of sexual health iufotntation. Worse, the article fouud that
 23   the data that the Meta Pixel was sendiug Facebook fiom hospital websites not only iucluded

 24

 25   n hups://www.dfs.ny.gov/system/files/docmnents/2021/02/facebook report 20210218.pdf
      t4 hups://state.corn/technology/2022/06/health-data-brokers-privacy.htntt

      ts https://slate.corn/technology/2022/06/health-data-brokers-privacy.htnd
      ts hups://www.tice.corn/en/article/akvmke/facebook-doesnt-know-what-it-does-with-your-data-or-v, here-it-goes

 28   CASE No.                                          —   35—

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      details such as patients’ medications, descriptions of their allergic reactions, details about their

      upcoming doctor’s appointments, but also included patients’ names, addresses, email addresses,

      and phone numbers.””

                 153.   Despite knowing that the Meta Pixel code embedded in its websites was sending

      patients’ Personal Health Information to Facebook, Defendant did nothing to protect patients and

      users from egregious intrusions into patient privacy, choosing instead to benefit at those patients’

      and users’ expense.

                 154.   Despite knowing that the Meta Pixel code embedded in its websites was sending

      patients’ Personal Health Information to Facebook, Defendants did nothing to protect patients and

      users from egregious intrusions into patient privacy, choosing instead to benefit at those patients’

      and users’ expense.

      L. Defendant’s failure to inform its patients and prospective patients that their Personal
         Health Information has been disclosed to Facebook or to take any steps to halt the
         continued disclosure of patients’ Personal Health Information is malicious, oppressive,
         and in reckless disregard of Plaintiffs’ and Class Members’ rights.

                 155.   Hospital systems, like other businesses, have a legal obligation to disclose data

      breaches to their customers. See e.g., CAL. CIv. CODE § 1798.82.

                 156.   After publication of the Markup’s          investigative article in June 2022, hospital

      systems around the United States began self-reporting data breaches arising from their installation

      of pixel technology on their websites.”®

                 157.   For example, in August 2022, Novant Health informed approximately 1.3 million

      patients that their medical data was disclosed to Facebook due to the installation of the Facebook

      Meta Pixel on the hospital system’s websites.”? Novant Health’s data breach announcement

      conceded that the Meta Pixel tool installed on its websites “allowed certain private information to


      77 https://themarkup.org/pixel-hunt/2022/06/16/facebook-is-receiving-sensitive-medical-information-from-hospital-
      websites

      78 https://www.scmagazine.com/analysis/breach/pixel-fallout-expands-community-health-informs-1-5m-of-
      unauthorized-disclosure

      79 https://www.scmagazine.com/analysis/breach/1-3m-novant-health-patients-notified-of-unintended-disclosure-
      via-facebook-pixel

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      be transmitted to Meta from the Novant Health website.”®° Novant Health further admitted that

      the information about its patients that was disclosed to Facebook included “‘an impacted patient’s:

      demographic information such as email address, phone number, computer IP address, and contact

      information entered into Emergency Contacts or Advanced Care Planning; and information such

      as appointment type and date, physician selected, button/menu selections, and/or content typed

      into free text boxes.”*!

                 158.      Likewise,    in October 2022, Advocate        Aurora    Health informed approximately

      3 million patients that their Personal Health Information had been disclosed to Facebook via the

      Meta Pixel installed on Advocate Aurora Health’s website.*? Advocate Aurora Health’s data

      breach notification conceded           that patient information had been transmitted to third parties

      including Facebook and Google when patients used the hospital system’s website.®

                 159.      Advocate Aurora Health further admitted that a substantial amount of its patients’

      Personal Health Information has been shared with Facebook and Google including patients’ “IP

      address; dates, times, and/or locations of scheduled appointments; your proximity to an Advocate

      Aurora      Health    location;    information   about    your   provider;   [and]   type   of appointment      or

      procedure.’”’** Even more troubling, Advocate Aurora Health admitted that “[w]e cannot confirm

      how vendors used the data they collected.”®°

                 160.      In conjunction with its data breach notice, Advocate Aurora Health claimed that

      the hospital system had “disabled and/or removed the pixels from our platforms and launched an

      internal investigation to better understand what patient information was                    transmitted to our



      80 https://www.novanthealth.org/home/about-us/newsroom/press-releases/newsid33987/2672/novant-health-
      notifies-patients-of-potential-data-privacy-incident-.aspx

      81 https://www.novanthealth.org/home/about-us/newsroom/press-releases/newsid33987/2672/novant-health-
      notifies-patients-of-potential-data-privacy-incident-.aspx

      82 https://www.fiercehealthcare.com/health-tech/advocate-aurora-health-data-breach-revealed-pixels-protected-
      health-information-3

      83 https://www.advocateaurorahealth.org/
      84 https://www.advocateaurorahealth.org/pixel-notification/faq

      85 https://www.advocateaurorahealth.org/pixel-notification/faq

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      veudors."       Advocate Aurora Health also proiuised its        3   milliou patieuts that the compauy had
      iustituted an "euhauced, robust techuology vettiug process" to preveut such disclosures of
      patieuts'ersonal Health Infonnatiou in the futttre.
               161.     Similarly, iu October 2022, WakeMed uotified more than 495,000 patients that

      their Personal Health tufonuation had beeu trausuutted to Facebook through the use of trackiug

      pixels iustalled on its website.         Iu anuounciug tins data breach, WakeMed admitted that the
      Facebook Meta Pixel tool had been iustalled on both of its websites resultiug iu the trausuussiou
      of patient iufonuatiou. WakeMed ftuther aduutted that "[d]epeudiug on the user's activity, the
      data that may have beeu trausmitted to Facebook could have iucluded udonuation such as: email

 10   address, phoue umuber, aud other contact mfonuatiou; coiuputer IP address; emergeucy coutact

      iufonuatiou; iufonnatiou provided duriug online check-iu, such as allergy or medicatiou
 12   iufonuatiou; COVID vacciue status; aud iufonuatiou about au npcomiug appoiutment, such as
 13   appointmeut type aud date, physiciau selected, aud button/meuu selectious."                  WakeMed also
 14   couceded that it had uo idea what Facebook had doue with the Personal Health tufonuatiou that
 15   WakeMed had disclosed about its patients.         'ike the other hospital systems who have come clean
 16   about their use of the Meta Pixel tool, WakeMed promised its patieuts that it had "proactively
 17   disabled Facebook's pixel" aud had "no plaus to use it in the future without coufumatiou that the

      pixel uo longer has the capacity to trausmit potentially seusitive or identifiable infonuatiou."
 19

 20
      ~ https://www.advocateaurorahealth.org/pixel-notification/faq
 21
      ~ https://www.advocateaurorahealth.org/pixel-notification/faq
 22     https://heattlutsecurity.cont/news/wakemed-faces-data-breach-lawsuit-over-meta-pixel-use
 23     https://www.wakemed.org/about-us/news-and-media/wakemed-news-releases/wakemed-notifies-patients-of-
      potential-data-privacy-incident
 24   w https://www.wakemed.org/about-us/news-and-media/wakemed-news-releases/wakeuied-uotifies-patients-of-
      potential-data-privacy-incident
 25
       'ttps://www.wakemed.org/about-us/news-and-iuedia/wakemed-news-releases/wakeuted-notifies-patients-of-
 26   poteutial-data-privacy-incident
        https://www.wakemed.org/about-us/news-and-media/wakemed-news-releases/wakemed-notifies-patients-of-
 27   potential-data-privacy-incideut
 28   CASE No.                                         —   38—

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                 162.     Iu November 2022, the fallout fiom hospital          systeuis'se of the Meta Pixel tool
      expauded when Couuuuuity Health Network informed 1.5 uullion of its patieuts that their
      personal health iufouuatiou had been routinely transmitted and disclosed to Facebook since at

      least April 2017.
                        '63.
                          Iu its data breach uotice, Couumuuty Health mfoimed patieuts that "third-pat+
      trackiug teclmologies were iustalled on Commuuity's website."                     Comunmity Health further

      admitted that it had "discovered through our iuvestigatiou that the coufiguratiou of certaiu
      techuologies allowed for a broader scope of iufounatiou to be collected aud trausuutted to each

      couespouding third-party trackiug tecluiology vendor (e.g., Facebook aud Google) thau
 10   Couuuunity had ever iuteuded." Coiuunuuty Health also conceded that its use of the Meta Pixel
      and related third-party trackiug techuologies had resulted iu siureptitiously recordiug aud

 12   trausmittiug a wide range of patieut engagements with its websites, iucludiug "seeking treatinent
 13   at a Comunuuty or affiliated provider locatiou."

 14              164.     Couuuuuity Health—like WakeMed, Novant, aud Advocate Aurora Health—also
 15   promised its patieuts that it had disabled or reiuoved the third-party trackiug techuologies that it
 16   had iustalled ou its website aud had iustituted uew "evaluation aud mauageiueut processes for all
 17   website techuologies moving forward." Couuuuuity Health, however, also couceded that it had

      uo idea how Facebook or other third parties had exploited the patieut Persoual Health Information

 19   that had beeu disclosed to thein via the pixel technology.
 20              165.     Unlike Comuuuuty Health, WakeMed, Novaut, Advocate Aurora Health, aud
 21   other responsible hospital systems who have informed their patients of the serious privacy
 22   violations resultiug Rom the iustallatiou of Facebook's Meta Pixel tool ou their websites,
 23

 24
         https://healthitsecurity.corn/news/conunmuty-health-network-notiftes-l. 5m-of-data-breach-stenuning-from-
 25   tracking-tech; see also https://www.ecommunity.corn/notice-third-party-tracking-techuology-data-breach
      ~ https://www.ecommunity.corn/notice-third-party-tracking-teclmology-data-breach
      iu   https://www.econununity.corn/notice-third-party-tracking-tectmology-data-breach
      ~ https://www.econununity.corn/notice-third-party-tracking-techuology-data-breach
 28   CASE No.                                           —   39—

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      Defeudant has done uothing. tudeed, uot only has Defeudaut hiddeu these privacy violatious fiom
      its patieuts, but Defeudaut coutiuues to collect, trausuut, aud disclose its patients'ersoual Health

      Iufonnation to Facebook despite widespread kuowledge in the health care cotmnunity that such
      collectiou and disclosure of patieut Persoua1 Health tufonnatiou is patently illegal aud iu violatiou
      of patients'uudameutal privacy rights.
                166.   As these data breach anuouucemeuts demoustrate, there is widespread knowledge

      within the health care couunmuty that iustallatiou of the Meta Pixel tool ou hospital websites
      results iu the disclosure of patieuts'ersonal Health tufonuatiou to Facebook. There is also

      widespread recognition that such disclosures are uot only illegal but fimdamentally unethical,
 10   given the privacy tights iuvolved.
                167.   Defendaut's decisiou to hide its use of the Meta Pixel tool fiom its owu patients
 12



 14
      patients'3
      and its refusal to remove such technologies &om its websites eveu after learnmg that its

      Personal Health Iufonuation was beiug routiuely collected, trausmitted, and exploited by

      Members'5
      Facebook is malicious, oppressive, aud in reckless disregard of Plaintiff s aud Class

      rights.
 16   M. Tolling, Concealment, and Estoppel
 17             168.   The applicable statutes of liuntatiou have been tolled as a result of Defendaut's

      knowiug and active coucealmeut aud denial of the facts alleged herein.
 19             169.   Defeudant seamlessly aud secretively iucotporated Meta Pixel aud other trackers
 20   iuto its websites, providing uo indication to users that they were iuteractiug with a website euabled

 21   by Meta Pixel. Defendant had kuowledge that its websites incorporated Meta Pixel aud other
 22   trackers yet failed to disclose that by iuteractiug with Meta-Pixel enabled websites, Plaiutiff aud
 23   Class Members'eusitive medical iufonuation would be iutercepted, collected, used by, aud

 24   disclosed to Facebook.
 25

 26

 27

 28   CASE No.                                    —   40—

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              170.   Plaintiff aud Class Members could uot with due diligeuce have discovered the fidl
      scope of Defeudaut's couduct, because there were uo disclosures or other iudication that they

      were interacting with websites employiug Meta Pixel.

              171.   The earliest that Plaiutiff and Class Members, actiug with due diligence, could

      have reasouably discovered this couduct would have beeu ou Juue 15, 2022, followiug the release

      of the Markup's investigation.
              172.   All applicable statutes of liiuitation have also beeu tolled by operation of the

      discovery rule aud the doctriue of coutinuiug tort. Defeudant's illegal iuterceptiou aud disclosure

      of patieuts'ud users'ersoual Health Infouuatiou has coutiuued unabated through the date of
 10   the filiug of Plaiutiff s Origmal Coiuplaiut. What's more, Defeudant was uuder a duty to disclose

      the uature aud siguificauce of its data collectiou practices but did uot do so. Defendaut is therefore

 12   estopped &om relymg ou auy statute of limitations defeuses.
 13                                        VI. CLASS DEFINITION
 14           173.   Defendaut's couduct violates the law aud breaches express and implied privacy
 15   promises.
 16           174.   Defeudant's mtlawful couduct has injured Plaintiff aud Class Members.
 17           175.   Defendaut's couduct is ougoiug.

              176.   Plaiutiff brings this action iudividually and as a class action agaiust Defeudaut.
 19           177.   Plaintiff biiugs this action iu accordance with the Code of Civil Procedure Rule
 20   382 iudividually aud ou behalf of the followiug proposed Class aud subclass:

 21                  The Torrance Memorial Class: For the period Januaiy 9, 2018, to the
                     preseut, all Califoiiua citizeus who are, or were, patieuts or prospective
 22                  patieuts of Toirauce Meiuorial or auy of its affiliates and who
                     exchauged couummications at Defendant's websites, iucluding
 23                  https://www.torraucememorial.org and auy other Tonauce Memorial
                     affiliated website.
 24
                     The Patient Subclass: For the period January 9, 2018, to the preseut,
 25                  all California citizens who are, or were, patieuts of Torrance Meiuorial
                     or any of its affiliates and who exchanged coimnuuicatious at
 26                  Defendaut's websites, iucluding https://www.torreucememorial.org/
                     aud any other Torrauce Meiuorial affiliated website.
 27

 28   CASE No.                                    —   41—

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              178.    Excluded fiom the Class and Subclass are: (1) auy Judge or Magistrate presiding

      over tlus actiou and any meiubers of their immediate families or staff; (2) auy jurors assigued to
      hear this case aud auy members of their iuuuediate fauulies; (3) the Defendaut, Defeudaut's
      subsidiaries, affiliates, parents, successors, predecessors, aud auy eutity iu which the Defeudaut

      or their pareuts have a controlliug iuterest and their current or fouuer eiuployees, officers, aud

      directors; and (4) Plaiutiff s couusel and Defeudaut's couusel.

              179.    Plaintiff aud Class Members satisfy the numerosity, coimnonality, typicality,

      adequacy, and predounuance requireiuents for suiug as represeutative parties.
              180.    Numerosity: The exact muuber of members of the Class is uukuowu aud
 10
      imavailable to Plaintiff at this tune, but iudividual joinder iu this case is unpracticable. The Class

      likely cousists of thousauds of iudividuals throughout California. The exact uumber of Class
 12
      Members cau be determined by review of infonuation maiutaiued by Defendaut. The proposed
 13
      class is defiued objectively in terms of ascertainable criteria, such that the Cotut may deteunine
 14
      the constituency of the class for the piuposes of the conclusiveuess of auy judgment that may be
 15
      reudered.
 16
              181.    Predominant Common Questions: The Class's claims preseut couunon
 17
      questions of law aud fact, and those questious predominate over auy questions that iuay affect

      iudividual Class members. Couuuou questious for the Class iuclude, but are not liuuted to, the
 19
      followiug:
 20
                   (a) Whether Defendaut violated Plaintiff s and Class Members'rivacy rights;
 21
                   (b) Whether Defeudant's acts aud practices violated California's Coustitutiou,
 22
                          Art. 1,   It   1;
 23
                   (c) Whether       Defeudant's   acts      and       practices      violated       Califoiitia's
 24
                          Coufideutiality of Medical tuformatiou Act, Crvn. CODE                 I'ttt   56, et seq.;
 25
                   (d) Whether Defendant's acts aud practices violated the Califoiiua Iuvasion of
 26
                          Pidvacy Act, CAL. PENAL CoDE        I'tII   630, et seq.;
 27

 28   CASE No.                                     —   42—

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                  (e) Whether        Defeudaut's acts aud practices violated the California
                           Compreheusive Computer Data Access aud Fraud Act, CAI.. PENAL

                           CODE     Ij   502;

                  (f) Whether Defendant's acts aud practices violated California's Ouliue

                           Privacy Protectiou Act, CAL. Bvs. & PRQF. CQDE             IjIj   22575, er seq;

                  (g) Whether Defendant's acts and practices violated Califouua's Uufair
                           Competitiou Law, CAL. Bvs. & PRDF. CoDE           IjIj   17200, er seq;

                  (h) Whether Defeudant's acts aud practices violated CAL. CIvIL CODE
  9                        Ijej   1798.81.5,    Ij   1798.81.5;

 10               (i) Whether Defeudaut's acts and practices violated CAL. Crvu. CoDE                         Ij


                            1798.83;

 12               (j) Whether Defeudaut was Uujustly enriched;
 13               (k) Whether Plaiutiff aud the Class Members are entitled to equitable relief,
 14                        iucludiug but not luuited to iujuuctive relief, restitution, aud
 15                        disgorgement; aud,
 16               (1)   Whether Plaiutiff aud the Class Members are eutitled to actual, statutory,
 17                        pruutive or other forms of damages aud other mouetary relief.

              182.      Typicality: Plaintiff s claims are typical of the claims of the other members of the
 19   Class. The claims of Plaiutiff aud the members of the Class arise fiom the same couduct by

 20   Defeudaut aud are based ou the same legal theories.
 21           183.      Adequate Representation: Plaiutiffhas aud will coutiuue to fairly and adequately
 22   represeut and protect the interests of the Class. Plaintiff has retained couusel competeut and
 23   experienced iu complex litigation aud class actions, iucludiug litigatiou to remedy privacy
 24   violatious. Plaiutiff has no iuterest that is in couflict with the mterests of the Class, and Defendant
 25   has no defeuses unique to auy Plaintiff. Plaiutiff aud her counsel are couunitted to vigorously

 26   prosecutiug this action ou behalf of the members of the Class, aud they have the resources to do
 27

 28   CASE No.                                             —   43—

                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      so. Neither Plaiutiff uor her counsel have auy iuterest adverse to the iuterests of the other members

      of the Class.
              184.    Substantial Benefits: This class action is appropriate for certificatiou because
      class proceediugs are superior to other available iuethods for the fair aud efficient adjudication of

      this couhoversy, aud joinder of all members of the Class is impracticable. This proposed class

      actiou preseuts fewer managemeut difficulties thau individual litigatiou aud provides the beuefits

      of siugle adjudicatiou, ecououues of scale, aud comprehensive supervisiou by a siugle coiut. Class
      treatmeut will create ecououues of time, effort, aud expeuse aud promote iuufonu decisiou-


 10           185.    Plaintiff reserves the right to revise the foregoiug class allegatious aud defiiutious
      based ou facts learned, aud legal developments followiug, additional iuvestigatiou, discovery, or
 12   otherwise.
 13                                        VII. CLAIMS FOR RELIEF
 14                     COUNT I—VIOLATION OF THE CALIFORNIA INVASION
                          OF PRIVACY ACT ("CIPA") CAL. PENAL CODE H 630,
 15                                          ET SEQ.
 16           186.    Plaiutiff re-alleges and incorporates all precediug paragraphs.
 17           187.    Plaiutiff briugs this claim ou behalf of herself aud all members of the Toirauce
      Memorial Class.
 19           188.    The California Legislature euacted the California Iuvasion of Privacy Act, CAL.
 20   PENAL CODE $ $ 630,    et seq. ("CIPA") fiudiug that "advauces iu scieuce aud techuology have led
 21   to the developmeut of uew devices aud tecluuques for the purpose of eavesdroppiug upon private
 22   commuuicatious aud that the iuvasion of privacy resultiug fiom the coutiuual aud iucreasing use
 23   of such devices aud teclufiques has created a serious threat to the fice exercise of persoual liberties
 24   aud cauuot be tolerated iu a   fee and civilized society." Id.   tj   630. Thus, the iuteut behiud CIPA is
 25   "to protect the right of privacy of the people of this state." Id.
 26

 27

 28   CASE No.

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             189.    CAL. PENAL CoDE       I[   631(a) generally prolubits iudividuals, busiuesses, aud other

      legal eutities from "aid[ing], agree[iug] with, employ[iug], or couspir[iug] with" a third party to

      read, attempt to read, or to leam the couteuts or meauiug of auy message, report, or

      comiuuuicatiou wlule the same is iu trausit or passing over auy wire, liue, or cable, or is being
      scut fiom, or received at any place withiu this state; or to use, or attempt to use, iu auy mauuer,

      or for auy purpose, or to couummicate in any way, auy information so obtained.

             190.    CAL. PENAL CoDE       I[   632(a) generally prolubits iudividuals, busiuesses, aud other

      legal entities Irom recording confidential couuuunications without couseut of all parties to the

      commuuication.
 10          191.    All alleged couuuuuicatious between Plaiutiff or Class Members and Defeudaut

      qualify as protected couuuunicatious uuder CIPA because each commuuicatiou is made usiug
 12   personal computiug devices (e.g., computers, smar1phoues, tablets) that send and receive
 13   comiuuuicatious in whole or iu part through the use of facilities used for the trausmissiou of
 14   couuuuuicatious aided by wire, cable, or other like couuectious.
 15          192.    Defendaut used a recordiug device to record the coufidential commuuications
 16   without the consent of Plaiutiff or Class members aud theu trausuutted such information to others,
 17   such as Facebook.

             193.    At all relevant times, Defendant's aidiug Facebook to leaiu the contents of
 19   comiuuuicatious aud Defeudaut's recordiug of coufideutial couuuuuications was without
 20   authorization aud couseut.
 21          194.    The Plaintiff aud Class Members had a reasouable expectation of privacy

 22   regarding the coufideutiality of their commuuications with Defeudant. Defeudant told them they
 23   would uot sell, rent, license, or trade their persoually ideutifiable infonuatiou to third parties
 24   without express conseut. Defendant uever received that express couseut. Nor could Defeudaut
 25   have received conseut fiom Plaiutiff and Class Meiubers because Defeudaut uever sought to, uor
 26

 27

 28   CASE No.                                        —   45—

                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      did, obtain Plaintiff s aud Class Members'ouseut to transuut their Personal Health Iufonuatiou

      to Facebook.

             195.      Defendaut engaged iu aud contimies to engage in mterception by aidiug others

      (iucluding Facebook) to secretly record the couteuts of Plaintiff's aud Class       Members'ire
      co uumuucatious.

             196.      The iutercepting devices used in this case iuclude, but are uot limited to:

                       (a) Plaintiff and Class Members'ersoual computiug devices;

                       (b) Plaiutiff aud Class Members'eb browsers;

                       (c) Plaiutiff and Class Members'rowser-mauaged files;
 10                    (d) Facebook's Meta Pixel;

                       (e) Iuteinet cookies;
 12                    (f) Defeudaut's computer seivers;
 13                    (g) Third-paiiy source code utilized by Defeudaut; aud
 14                    (h) Computer servers of third parries (iucludiug Facebook) to which
 15                        Plaiutiff and Class Members'ommunicatious were disclosed.
 16          197.      Defeudaut aided iu, aud coutiuues to aid in, the iuterceptiou of couteuts in that
 17   the data Irom the couumuucatious between Plaintiff and/or Class Members aud Defendaut that

      were redirected to and recorded by the tlurd parties mclude information which ideutifies the
 19   parties to each couunuuication, their existence, aud their couteuts.
 20          198.      Defeudaut aided in the iuterceptiou of "couteuts" iu at least the followiug forms:
 21              (a)      The parties to the comuumicatious;
 22                       The precise text of patieut search queries;
 23              (c)      Persoually ideutifying infonuatiou such as      patieuts'P    addresses,
 24                       Facebook IDs, browser fingerprints, aud other uuique identifiers;
 25              (d)      The precise text of patieut comunmications about specific doctors;
 26

 27

 28   CASE No.                                    —   46—

                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                 (e)      The precise text of patieut communications about specific medical

                          conditions;

                 (f)      The precise text of patient comunmications about specific treatments;

                 (g)      The precise text of patieut couunuuications about scheduliug

                          appointments with medical providers;

                 (h)      The precise text of patient commuuicatious about billing aud paymeut;

                 (i)      The precise text of specific buttous ou Defeudaut's website(s) that

                          patients click to exchange couuuuuicatious, iucludiug Log-Ius,
                          Registratious, Requests for Appointments, Search, aud other buttons;
 10              (j)      The precise dates aud tuues wheu patients click to Log-In ou
                          Defendaut's website(s);
 12              (k)      The precise dates aud times wheu patients visit Defeudant's websites;
 13              (1)      Iufonnatiou that is a geueral suuunary or infoiins third parties of the
 14                       geueral subject of couunuuicatious that Defeudaut scud back to
 15                       patients iu response to search queries aud requests for iuforinatiou
 16                       about specific doctors, couditious, treatments, billiug, paymeut, aud
 17                       other information; aud

                 (m)      Any other conteut that Defendaut has aided third parties in scraping
 19                       froui webpages or couunuuicatiou forms at web properties.
 20
             199.      Plaintiff and Class Members reasonably expected that their Persoual Health
 21
      Iufonuatiou was uot beiug iutercepted, recorded, aud disclosed to Facebook.
 22
             200.      No legitimate purpose was served by Defeudant's willful and iutentional
 23
      disclosure of Plaintiff s and Class Members'ersonal Health Information to Facebook. Neither
 24
      Plaiutiff nor Class Members conseuted to the disclosure of their Peisoual Health Iufonuation by
 25
      Defeudant to Facebook. Nor could they have conseuted, given that Defendant never sought
 26

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 28   CASE No.                                     —   47—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      Plaiutiff s or Class Members'ouseut, or eveu told visitors to their websites that their every
      iuteraction was beiug recorded aud trausuutted to Facebook via the Meta Pixel tool.

               201.    Plaiutiffs and Class Members'lectronic commuuicatious were iutercepted
      duriug trausmissiou, without their couseut, for the unlawful aud/or wrougful pmpose of
      mouetiziug their Personal Health tufonuation, iucludiug usiug their sensitive medical iufonuatiou

      to develop marketiug and advertising strategies.

               202.    Plaintiff and the Class Members seek statutory daiuages iu accordauce with

      $   637.2(a), which provides for the greater of: (1) $ 5,000 per violatiou; or (2) three tuues the
      auiouut of damages sustained by Plaintiff aud the Class iu an amouut to be proven at trial, as well
 10   as injunctive or other equitable relief.

               203.   tu additiou to statutory damages, Defendaut's breach caused Plaiutiff aud Class
 12   Members, at miuunmn, the followiug dauiages:
 13            (a)     Sensitive and coufideutial iufonnatiou that Plamtiff aud Class Members

 14                    iutended to remaiu private is uo louger private;
 15                   Defendaut eroded the essential coufidential nature of the doctor-patieut
 16                   relationship;
 17            (c)    Defendaut took something of value from Plaiutiff aud Class Members aud

                       derived beuefit therefrom without Plaiutiff s and Class
 19
                                  Members'nowledge
                                   or iufoitued couseut and without shaiing the benefit of such

 20                   value;
 21            (d)     Plaiutiff and Class Members did not get the full value of the medical
 22                    services for winch they paid, which included Defeudaut's duty to maiutaiu
 23                    coufideutiality; aud

 24            (e)    Defendaut's actions dimuushed the value of Plaiutiff and Class
 25
                               Members'ersoual
                                information.
 26

 27

 28   CASE No.                                    —   48—

                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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             204.    Plaintiff aud Class Members have also suffered irreparable iujury fioiu
      Defeudaut's uuauthorized acts of disclosure. Their personal, private, aud seusitive data has beeu

      collected, viewed, accessed, stored, and used by Defendant aud Facebook without their conseut

      aud has uot been destroyed. Plaiutiff aud Class Meuibers have suffered harm aud injury, iucluding
      but uot luuited to the iuvasiou of their privacy rights. Plaintiff contiuues to desire to search for
      health infonuatiou on Torrance Memorial's website. Plaintiff will contimie to suffer bann if the
      website is uot redesigned. If the website were redesigned to comply with applicable laws, Plaintiff
      would use the Torrauce Memorial website to search for health iufonuation iu the future. Due to
      the coutmuing threat of injury, Plaiutiff and Class Members have uo adequate remedy at law, aud
 10   Plaiutiff and Class Members are therefore entitled to injuuctive relief.
             205.    Plaiutiff aud Class Members also seek such other relief as the Court may deem
 12   equitable, legal, aud proper.
 13                          COUNT II—VIOLATION OF CALIFORNIA
                          CONFIDENTIALITY OF MEDICAL INFORMATION ACT
 14                                ("CMIA") CIVIL CODE tt 56.06
 15          206.    Plaiutiff re-alleges and incorporates all precediug paragraphs.
 16          207.    Plaintiff briugs this claim ou behalf of herself and all members of the Toirauce
 17   Memorial Class.

             208.    Defendaut is a provider of health care under CAL. Crv. CODE.      tt   56.06, subdivision
 19   (a) and (b), because it maiutaius medical iufonnatiou aud offers software to cousmners that is
 20   desigued to maiutaiu medical iufonnation for the pmposes of allowiug their users to mauage their
 21   infonuatiou or for the diagnosis, treatmeut, or managemeut of a medical coudition.
 22          209.    Defeudant is therefore subject to the requirements of the CMIA aud obligated
 23   uuder subdivision (d) to maiutaiu the same staudards of confidentiality required of a provider of
 24   health care with respect to medical information disclosed to it.
 25          210.    Defeudant violated Civil Code sectiou 56.06 because it did uot maiutaiu the
 26   coufideutiality of users'edical iufonuation. Iustead, Defendant disclosed Plaintiff s aud Class
 27

 28   CASE No.                                   —   49—

                                 CLAss ACTIDN CDMPLAINT AND DEMAND F0R JURY TRIAL
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      members'edical iufouuatiou to Facebook without couseut. This iufonnation was iuteutioually
      shared with Facebook, whose busiuess is to sell advertisemeuts based on the data that it collects

      about individuals, including the data Plaintiff aud the Class Members shared with Defendant.

             211.    Defeudant knowiugly aud willfully, or uegligeutly, disclosed medical iufouuatiou
      without couseut to Facebook for fiuancial gaiu. Defeudaut's conduct was kuowiug and willfid as

      it was aware that Facebook would collect all data inputted while usiug their website, yet

      iuteutionally embedded Meta Pixel auyway.
             212.    Accordingly, Plaintiff aud Class members are eutitled to: (1) nouuual damages of

      $ 1,000; (2) actual damages, in au amouut to be determined at trial; (3) statutory damages pursuant

 10   to 56.36(c); aud (4) reasonable attorney's fees aud other litigation costs reasouably incmred.

             213.    tu additiou to statutory damages, Defendaut's breach caused Plaiutiff aud Class
 12   Members, at miuunmn, the followiug dautages:
 13          (a)     Sensitive and coufideutial iufoiinatiou that Plamtiff aud Class Members

 14                  iutended to remaiu private is uo louger private;
 15                  Defendaut eroded the essential coufidential nature of the doctor-patieut
 16                  relationship;
 17          (c)     Defendaut took something of value from Plaiutiff aud Class Members aud

                     derived beuefit therefrom without Plaintiff s and Class
 19
                                Members'nowledge
                                 or iufoiined couseut and without shaiing the benefit of such

 20                  value;
 21          (d)     Plaiutiff and Class Members did not get the full value of the medical
 22                  services for winch they paid, which included Defeudaut's duty to maiutaiu
 23                  coufideutiality; aud

 24          (e)     Defendaut's actions dimuushed the value of Plaiutiff and Class
 25
                              Members'ersoual
                              information.
 26

 27

 28   CASE No.                                   —   50—

                                CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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             214.    Plaintiff aud Class Members also seek such other relief as the ComT may deem
      equitable, legal, aud proper.
  3                              COUNT III—VIOLATION OF CMIA CIVIL CODE
                                                             tt   56.101
  4
             215.    Plaintiff re-alleges and incorporates all preceding paragraphs.
  5
             216.    Plaintiff briugs this claim on behalf of herself and all members of the Toirance
  6
      Memorial Class.
  7
             217.    Crvir. CoDE      I't   56.101, subdivisiou (a) requires that eveiy provider of health care
  8
      "who creates, maintains, preserves, stores, abaudous, destroys, or disposes of medical infouuation
  9
      shall do so iu a manuer that preseives the coufideutiality of the information contained thereiu."
 10
             218.    Any health care provider who "negligently creates, maintains, preserves, stores,
 11
      abandons, destroys, or disposes of medical information shall be subject to the remedies aud
 12
      peualties provided uuder subdivisions (b) aud (c) of Section 56.36."
 13
             219.    Defendant failed to maintain, preserve, and store medical iufoiination in a manuer
 14
      that preserves the confidentiality of the information contained thereiu because it disclosed to
 15
      Facebook Plaiutiffs aud Class Members'eusitive medical information without consent,
 16
      including information concerning their health status, medical diagnoses, treatment, aud
 17
      appointuient infonuation, as well as personally ideutifiable information.
 18
             220.    Defeudant's failure to maintaiu, preserve, and store medical information in a
 19
      miumer that preserves the confidentiality of the infoiruatiou was, at the least, negligeut aud
 20
      violates Crvm CQDE    II   56.36 subdivisions (b) and (c).
 21
             221.    Accordiugly, Plaiutiff aud Class Members may recover: (1) nouuual damages of
 22
      $ 1,000; (2) acuial damages, iu an iunouut to be deteriuined at trial; (3) statutory daniages pursuaut
 23
      to 56.36(c); aud (4) reasonable attorney's fees and other litigation costs reasonably incurred.
 24
             222.    lu additiou to statutory damages, Defeudant's breach caused Plaiutiff and Class
 25
      Members, at urhiinuu, the followiug dauiages:
 26

 27

 28   CASE No.                                          —   51—

                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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             (a)         Sensitive and coufideutial iufoiTnatiou that Plamtiff aud Class Members

                         iutended to remaiu private is uo louger private;

                   (b)      Defeudant eroded the esseutial coufidential nature of the doctor-patieut

                            relationship;

             (c)         Defendaut took something of value from Plaiutiff aud Class Members aud

                         derived beuefit therefrom without Plaiutiff s and Class
                                    Members'nowledge
                                     or informed couseut and without shaiing the benefit of such

                         value;

             (d)         Plaiutiff and Class Members did not get the full value of the medical
 10                      services for winch they paid, which included Defeudaut's duty to maiutaiu

                         coufideutiality; aud

 12   Members'3
             (e)         Defendaut's actions dimunshed the value of Plaiutiff and Class

                         persoual information.
 14          223.        Plaiutiff aud Class Members also seek such other relief as the Court may deem
 15   equitable, legal, aud proper.
 16                           COUNT IV—VIOLATION OF CMIA CIVIL CODE                        tt   56.10

 17          224.        Plaiutiff re-alleges aud iucorporates all precediug paragraphs.
             225.        Plaiutiff briugs this claun ou behalf of herself aud all members of the Torrauce
 19   Memorial Class.
 20          226.        Crvn. CODE    Il   56.10, subdivisiou (a), prohibits a health care provider fiom

 21   disclosiug medical information without first obtainiug au authorization, unless a statutory
 22   exception applies.
 23          227.        Defendaut disclosed medical information without first obtaiuiug authorizatiou
 24   wheu it disclosed Plaintiffs and Class Members'ensitive medical information to Facebook
 25   without couseut, includiug iufounatiou couceiniug their health status, medical diaguoses,
 26

 27

 28   CASE No.                                        —   52—

                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      treatmeut, aud appoinnnent iufoiiuation, as well as personally identifiable iufouuatiou. No

      statutory exception applies. As a result, Defendaut violated Crvu. CODE    Il   56.10, subdivision (a).

             228.    Defendaut knowingly and willfully, or uegligeutly, disclosed medical infounation

      without couseut to Facebook for finaucial gaiu.
             229.    Accordiugly, Plaiutiff aud Class Members may recover: (1) nouuual damages of

      $ 1,000; (2) actual damages, in au amouut to be determined at trial; (3) statutory damages pursuant

      to 56.36(c); (4) pumtive dauiages pursuaut to 56.35; aud (5) reasouable attorney's fees aud other

      litigatiou costs reasonably iucurred.

             230.    Iu additiou to statutory damages, Defeudaut's breach caused Plaiutiff and Class
 10   Members, at muumnm, the followiug dauiages:

             (a)     Seusitive and coufidential information that Plaiutiff aud Class Members

 12                  inteuded to remaiu private is no louger private;
 13          (b)     Defeudant eroded the essential coufideutial uature of the doctor-patieut
 14                  relatiouship;
 15          (c)     Defendaut took souiething of value from Plaintiff aud Class Members aud
 16                  derived beuefit therefrom without Plaiutiff s aud Class
 17
                                 Members'nowledge
                                  or informed couseut aud without       sharin the benefit of such
                     value;
 19          (d)     Plaintiff and Class Members did not get the full value of the medical
 20                  services for which they paid, which included Defeudaut's duty to maiutaiu

 21                  coidideutiality; and
 22   Meiubers'3
             (e)     Defeudant's actious dimuushed the value of Plaiutiff aud Class
                     persoual information.
 24          231.    Plaiutiff and Class Members also seek such other relief as the Court may deem
 25   equitable, legal, aud proper.
 26                  COUNT V—INVASION OF PRIVACY AND VIOLATION OF
                       THE CALIFORNIA CONSTITUTION, ART. I, It I
 27

 28   CASE No.                                   —   53—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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             232.    Plaintiff re-alleges and incorporates all precediug paragraphs.
             233.    Plaiutiff briugs this claim ou behalf of herself aud all members of the Torrance
      Memorial Class.

             234.    AITicle I, Section I   of the Califouua Constitutiou provides: "All people are by
      uature Iree aud iudepeudeut and have inalieuable rights. Among these are eujoyiug aud defeudiug

      life and liberty, acquiriug, possessing, and protectiug property, and pursuiug aud obtaining safety,

      happiness, aud privacy." California Constitutiou, AITicle I, Sectiou l.
             235.    To state a claim for iuvasiou of privacy under the California Coustitution, a

      plaiutiff must establish (I) a legally protected privacy iuterest; (2) a reasouable expectatiou of
 10   privacy; aud (3) an iutrusiou so serious iu uature, scope, aud actual or poteutial impact as to
      coustitute au egregious breach of social nonus.

 12          236.    The right to privacy in California's coustitution creates a right of actiou agaiust

 13   private aud govenuuent eutities.
 14          237.    Plaiutiff aud Class Members had aud continue to have a reasouable expectation of
 15   privacy in their personal information, identities, aud user data pursuaut to Article I, Section I of
 16   the Califorrria Coustitution.

 17          238.    Plaiutiff aud Class Members had a reasouable expectatiou of privacy uuder the
      circtunstances, includiug that: (i) the data collected, used, and disclosed by Defeudaut iucluded
 19   persoual, seusitive Iuedical infounatiou, decisious, aud medical diagnoses; aud (ii) Plaiutiff aud
 20   Class Members did uot conseut or otherwise authorize Defeudaut to disclose this information to

 21   others or to collect aud use this private infonuation for their owu mouetary gam.
 22          239.    Giveu the uature of the Persoual Health Information that Defeudant disclosed to
 23   Facebook, such as patieuts'ames, email addresses, phone uumbers, information entered into

 24   fonus, doctor's names, potential doctor's uames, the search terms used to locate doctors (i.e.,
 25   "Weight loss"), medications, aud details about upcomiug doctor's appoiutmeuts, this kiud of

 26   iutrusiou would be (aud iu fact is) highly offeusive to a reasouable persou.
 27

 28   CASE No.                                    —   54—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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             240.    The disclosure of persoually ideutifiable medical uffonnatiou coustitutes au

      uureasouable, substautial, and serious iuteifereuce with Plaiutiff s aud Class Members'ights to

      privacy.

             241.    Plaintiff and Class Members did uot couseut to, authorize, or kuow about
      Defeudaut's disclosure of their Personal Health tufoimation to Facebook at the tuue it occtured.

      Plaiutiff aud Class Members never agreed that their sensitive medical infonuatiou could be
      collected, used, aud iuouetized by Facebook.

             242.    Plaiutiff and Class Members have suffered harm and iujury, including but uot
      limited to the iuvasiou of their privacy rights. Plaintiff contimies to desire to search for health
 10   iufonuatiou ou Toirauce Memorial's website. They will coutiuue to suffer bann if the website is
      uot redesigued. If the website were redesigued to comply with applicable laws, Plaiutiff would
 12   use the Torrauce Memorial website to search for health information in the future.
 13          243.    Plaintiff aud Class Members therefore seek iujuuctive relief to preveut Defeudaut
 14   &om continuiug to collect, use, aud sell Persoual Health tufoimation without consent.

 15          244.    Plaiutiff aud Class Members have been damaged as a direct and proximate result
 16   of Defeudaut's invasiou of their privacy aud are entitled to seek just couipeusation, iucluding
 17   mouetary damages.

             245.    Plaiutiff and Class Meiubers seek appropriate relief for their injuries, including but
 19   uot liuuted to damages that will reasouably compeusate Plaiutiff aud Class Members for the hami
 20   to their privacy iuterests as well as a disgorgemeut of profits made by Defeudaut as a result of

 21   their intmsions ou Plaiutiff aud Class Members'iivacy.
 22          246.    Defeudant's breach caused Plaiutiff aud Class Meiubers, at miuimmu, the
 23   followiug damages:
 24          (a)     Sensitive and coufideutial information that Plaintiff and Class Members

 25                  iuteuded to remaiu private is uo louger private;
 26

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 28   CASE No.                                   —   55—

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             (b)     Defeudant eroded the essential coufideutial uature of the doctor-patieut

                     relatiouship;

             (c)     Defendaut took souiething of value from Plaintiff aud Class Members aud

                     derived beuefit therefrom without Plaiutiff s aud Class
                                   Members'nowledge
                                       or iufonued couseut aud without shariug the benefit of such

                     value;

             (d)     Plaintiff and Class Members did not get the full value of the medical
                     services for which they paid, which included Defeudaut's duty to maiutaiu

                     coidideutiality; and
 10          (e)     Defeudant's actious dimuushed the value of Plaiutiff aud Class
                                Meiubers'ersoual
                                 information.

 12          247.    Plaiutiff aud Class Members are also entitled to punitive damages resulting from
 13   the malicious, willful, aud iuteutioual nature of Defeudaut's actious, which caused injury to

 14   Plaiutiff aud Class Members in conscious disregard of their rights. Such damages are ueeded to
 15   deter Defendaut &om engagmg iu such couduct iu the future.
 16          248.    Plaintiff aud Class Members seek attoiney's fees iu accordauce with CAL. CoDE
 17   Crv. PRocEDURE    It   1021.5.

             249.    Plaiutiff and Class Members also seek such other relief as the Court may deem
 19   equitable, legal, aud proper.
 20                          COUNT VI—VIOLATION OF THE COMPREHENSIVE
                                COMPUTER DATA ACCESS AND FRAUD ACT
 21                                 ("CDAFA") CAL. PENAL CODE It 502
 22          250.    Plaintiff re-alleges and incorporates all precediug paragraphs.
 23          251.    Plaiutiff briugs this claim ou behalf of herself aud all members of the Torrance
 24   Memorial Class.
 25          252.    The Califoinia Legislature euacted the Compreheusive Coiuputer Data Access aud

 26   Fraud Act, CAL.   PENAL, CODE       It   502 ("CDAFA") to "expand the degree of protection... from

 27

 28   CASE No.                                         —   66—

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      tamperiug, iuterfereuce, damage, aud unauthorized access to [including the extractiou of data

      trom] lawfully created computer data aud computer systems," fiuding and declariug that "the

      proliferatiou of coiuputer techuology has resulted iu a coucomitaut proliferatiou of... fouus of

      uuauthoidzed access to computers, computer systems, aud computer data," aud that "protection of

      the iutegrity of all types aud forms of lawfully created computers, computer systems, aud

      computer data is vital to the protectiou of the privacy of               individuals..."   CAL. PENAL CDDE

      f 502(a).
             253.    Plaiutiff s aud the Class Members'evices ou which they accessed the hospital
      website, iucludiug their computers, stuart phones, aud tablets, constitute computers or "computer
 10   systems" withiu the iueaniug of CDAFA. /d.            II   502(b)(5).
             254.    Defendaut violated   tt   502(c)(1)(B) of CDAFA by kuowiugly accessiug without
 12   peunission Plaintiff s aud Class Members'evices in order to wrongfully obtaiu and use their
 13   persoual data, iucludiug their seusitive medical iufounation, iu violatiou of Plaintiff aud Class
 14   Members'easonable expectations of privacy iu their devices aud data.
 15          255.    Defendaut violated CAL. PENAL CQDE                  It   502(c)(2) by kuowiugly aud without
 16   peunissiou accessiug, takiug, copying, aud usiug Plaiutiff s aud the Class Members'ersoually
 17   ideutifiable information, iucluding their sensitive medical iufoiniatiou.

             256.    The computers aud mobile devices that Plaintiff and Class Members used when

 19   accessing the hospital website all have aud operate "computer seivices" withiu the meauiug of
 20   CDAFA. Defeudaut violated       II'02(c)(3)            aud (7) of CDAFA by kuowiugly aud without

 21   peunission accessing and using those devices aud computer services, and/or causing them to be
 22   accessed aud used, inter a/ia, iu counectiou with Facebook's wrougful collectiou of such data.
 23          257.    Under II 502(b)(12) of the CDAFA a "Computer contauuuaut" is defiued as "auy
 24   set of computer instructions that are designed             to... record, or trausmit infounatiou within a
 25   computer, computer system, or computer uetwork without the iuteut or peiniission of the owuer
 26   of the information." Defendant violated          II   502(c)(8) by kuowiugly and without permission
 27

 28   CASE No.                                     —    57—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      iutroduciug a computer contauuuaut via Meta Pixel embedded mto the hospital website, which
      iutercepted Plaiutiff s aud the Class Members'rivate aud seusitive medical iufonnatiou.

             258.    Defendaut's breach caused Plaiutiff and Class Meiubers, at muumum, the

      followmg damages:

             (a)     Sensitive aud coufideutial information that Plaiutiff aud Class Members

                     inteuded to remaiu private is no louger private;

             (b)     Defeudaut eroded the essential coufideutial uature of the doctor-patieut

                     relatiouship;

             (c)     Defendaut took souiething of value from Plaintiff aud Class Members aud
 10                  derived beuefit therefrom without Plaiutiff s aud Class
                                   Members'nowledge
                                    or informed couseut aud without      sharin the benefit of such
 12                  value;
 13          (d)     Plaintiff and Class Members did not get the full value of the medical
 14                  services for which they paid, which included Defeudaut's duty to maiutaiu

 15                  coidideutiality; aud
 16   Meiubers'7
             (e)     Defeudaut's actious dimuushed the value of Plaiutiff aud Class
                     persoual information.

             259.    Plaiutiff and Class Members also seek such other relief as the Court may deem
 19   equitable, legal, aud proper.
 20          260.    Plaiutiff aud the Class Members seek compensatory damages iu accordauce with
 21   CAL. PENAL CQDE    SS   502(e)(l), iu an amount to be proved at trial, aud iujuuctive or other equitable
 22   relief. Plaintiff coutiuues to desire to search for health iufonnation ou Torrance Memorial's
 23   website. They will coutiuue to suffer harm if the website is uot redesigued. If the website were

 24   redesigned to comply with applicable laws, Plaintiff would use the Torrance Memorial website to
 25   search for health iufonnation iu the future.
 26

 27

 28   CAsE No.                                      —   58—

                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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               261.         Plaintiff aud Class members are entitled to puuitive or exemplary damages
       pursuant to CAI.. PENAI. CODE I'l 502(e)(4) because Defeudaut's violatious were willful and, upon

       infouuatiou and belief, Defendant is guilty of oppression, &aud, or malice as defmed iu CAL.
       CivlL CODE     I'1   3294.

               262.         Plaiutiff aud the Class members are also eutitled to recover their reasouable
       attorney's fees under It 502(e)(2).
                             COUNT VII—BREACH OF IMPLIED-IN-FACT CONTRACT
               263.         Plaiutiff re-alleges aud iucorporates all precediug paragraphs.
               264.         Plaiutiff Jane Doe briugs this claun on behalf of herself aud all members of the
 10    Patieut Subclass.
               265.         Defendaut promised iu its "Website Privacy Notice" that it would "follow
 12    generally accepted iudustry staudards to protect the information submitted to us, both during
 13    trausuussion aud once we receive it." Defeudant also promised that "[o]uly employees who need
 14    the iufounation to perform a specific job ... are grauted access to personally ideutifiable

 15    infouuatiou."         Defeudant fiuther promised that "We will uot sell or otherwise provide the
 16   patties.'7
       iufouuatiou we collect to outside third
               266.          Defendaut solicited aud iuvited Plaiutiff aud Patieut Subclass Members to provide

       their Private Health Infortuatiou on its website as part of Defendaut's regular business practices.
 19    Plaiutiff aud Patieut Subclass Members accepted Defeudant's offers and provided their Private
 20    Health tufouuation to Defeudaut as pmt of acquiriug Defeudant's medical services. Per its
 21    contractual, legal, ethical, aud fiduciary duties, Defeudaut was obligated to take adequate
 22    measures to protect Plaintiff s aud Patieut Subclass Members'ersoual Health Iufouuatiou fiom
 23    uuauthorized disclosure to third parties such as Facebook. These facts give rise to the iuference
 24

 25
       ~ https://www.torrancememorial.org/website-privacy-notice/
 26
       w https://www.totrancememorial.oqtwebsite-privacy-notice/
 27      https://www.torrancememorial.org/website-privacy-notice/
 28    CASE No.                                        —   59—

                                       CLAss ACTIDN CoMPLAINT AND DEMAND F0R JURY TRIAL
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      that Defeudaut took ou obligatious outside the plaiu terms of auy express coutracts that it iuay

      have had with Plaiutiff aud Patient Subclass Members.

             267.    Plaiutiff and the Patient Subclass Members eutered into valid aud enforceable
      unplied coutracts with Defeudaut wheu they sought medical treahueut fioiu Defeudaut.
      Specifically, through their course of conduct, Defeudaut, Plaintiff aud Patient Subclass Members

      entered into implied contracts for the provision of medical care and treatment, which included au

      unplied agreemeut for Defendaut to retaiu aud protect the privacy of Plamtiffs aud Patient
      Subclass Members'ersoual Health tufonuatiou.

      Members'0
             268.    Defendaut required and obtaiued Plaintiffs and Patient Subclass

      Personal Health Infonuatiou as part of the physician-patient relatiouship, evinciug an implicit

      prouuse by Defendaut to act reasouably to protect the coufidentiality of Plaiutiff s aud Patieut
 12   Subclass Members'ersoual Health Information. Defendant, through its privacy policies, codes
 13   of couduct, compauy security practices, aud other conduct, iinplicitly prouused that it would
 14   safeguard Plaiutiff s aud Patieut Subclass Members'ersoual Health Infonuation iu exchauge for
 15   access to that iufonnatiou and the opportuuity to treat Plaiutiff and Patieut Subclass Members.
 16          269.    hnplied iu the exchauge was a promise by Defeudaut to ensure that the Personal
 17   Health Infonuatiou of Plaiutiff aud Patient Subclass Members iu its possessiou would only be

      used for medical treatment pmposes aud would not be shared with third parties such as Facebook
 19   without the kuowledge or conseut of Plaiutiff aud Patient Subclass Members. By askiug for aud
 20   obtaiuiug Plaiutiff s aud Patieut Subclass Members'ersonal Health tufonnation, Defeudaut
 21   asseuted to protecting the confidentiality of that iufonnatiou. Defendant's implicit agreeiuent to
 22   safeguard the coufideutiality of Plamtiffs and Patient Subclass Members'ersoual Health
 23   tufonnatiou was uecessaiy to effectuate the coutract betweeu the parties.
 24          270.    Plaiutiff aud Patieut Subclass Members provided their Personal Health
 25   Iufonnatiou iu reliauce ou Defeudant's implied proiuise that this iufonuatiou would not be shared
 26   with third parties without their consent.
 27

 28   CASE No.                                    —   60—

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             271.    These exchauges coustituted an agreement aud meetmg of the miuds betweeu the

      pariies: Plaiutiff aud Patieut Subclass Members would provide their Persoual Health Information

      iu exchange for the medical treatment aud other benefits provided by Defeudaut (including the

      protection of their coufideutial persoual aud medical information). A portiou of the price of each

      paymeut that Plaiutiff aud the Patient Subclass Members made to Defeudaut for medical services
      was iuteuded to ensure the confideutiality of their Personal Health Iufoimatiou.

             272.    Iu euteriug into such uuplied contracts, Plaiutiff aud Patieut Subclass Members
      reasouably believed aud expected that Defeudaut would comply with its prouuses to protect the

      confideutiality of their Persoual Health Information as well as applicable laws aud regulatious
 10   goveruing the disclosure of such iufonuatiou aud that Defendaut would uot allow third parties to
      collect or exploit their couuuunicatious with Defendaut without their conseut.
 12          273.    It is clear by these exchauges that the parties iutended to enter iuto au agreemeut
 13   aud mutual asseut occmred. Plaiutiff aud Patieut Subclass Members would not have disclosed
 14   their Persoual Health tufouuatiou to Defendant but for the prospect of Defendaut's prouuse of
 15   medical treatmeut aud other beuefits. Conversely, Defeudant presiunably would not have takeo
 16   Plaiutiff aud Patieut Subclass Members'ersoual Health tufoituation if they did uot iuteud to
 17   provide them with medical treatment and other beuefits.
             274.    Defendaut was therefore required to reasonably safeguard aud protect the Persoual
 19   Health Information of Plaiutiff aud Patieut Subclass Members fiom uuauthorized disclosure
 20   and/or use by third paITies.

 21          275.    Plaiutiff and Patient Subclass Members accepted Defeudaut's medical services
 22   offer aud fully perfoiTned their obligatious under the implied coutract with Defeudaut by
 23   providiug their Persoual Health tufouuatiou to Defendaut amoug other obligatious. Plaiutiff aud
 24   Patieut Subclass Members would uot have provided aud eutrusted their Personal Health
 25   IufoiTnatiou to Defeudant iu the absence of their implied coutracts with Defeudaut aud would

 26

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 28   CASE No.                                  —   61—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      have instead retaiued the oppornmity to coutrol their Persoual Health Information for uses other

      thau the beuefits offered by Defeudaut.
             276.    Plaiutiff aud Patieut Subclass Members relied on Defendant's implied promises to
      safeguard their Personal Health Infounatiou to their detrimeut. Defeudant breached the uuplied
      coutracts with Plaiutiff aud Patieut Subclass Members by failiug to reasouably safeguard aud

      protect Plaintiff s aud Patient Subclass Members'ersonal Health Iufoimation I'rom disclosure to
      Facebook.

             277.    Defendaut's failure to implemeut adequate measures to protect the Persoual Health

      Information of Plaintiff and Patieut Subclass Members aud Defendant's iutentional disclosure of
 10   the saiue to Facebook violated the pmpose of the agreement betweeu the parties: Plaiutiff s aud

      Patieut Subclass Members'rovision of mouey aud Personal Health Information iu exchauge for
 12   medical services and other beuefits.
 13          278.    Iustead of safeguardiug Plaintiff s aud Patieut Subclass Members'ersoual Health
 14   Information, Defeudaut iutentioually shared that information with Facebook, thereby breachiug
 15   the unplied contracts it had with Plaiutiff and Patient Subclass Members.
 16          279.    Plaintiff aud Patieut Subclass Members who paid iuouey to Defeudant reasonably
 17   believed aud expected that Defeudaut would use part of those fuuds to operate its website fice of

      siureptitious collectiou aud exploitation of coimmmications between the parties. Defeudant failed
 19   to do so. Plaiutiff and Patieut Subclass Members would uot have sought medical seivices I'rom

 20   Defeudaut if they had known that Defeudant would share their Persoual Health tufouuation with
 21   Facebook without their knowledge or written conseut.
 22          280.    Under the implied coutracts, Defendaut aud/or its affiliated healthcare providers
 23   prouused aud were obligated to: (a) provide healthcare to Plaiutiff and Patieut Subclass Members;
 24   and (b) protect Plaintiffs and the Patieut Subclass    Members'ersonal Health Infounation
 25   provided to obtain such healthcare. Iu exchauge, Plamtiff aud Patieut Subclass Members agreed
 26

 27

 28   CASE No.                                  —   62—

                                CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      to pay mouey for these services, aud to ttnn over their Persoual Health Information tluongh the

      nse of Defeudaut's websites.

             281.     Both the provision of medical services and the protection of Plaintiff and Patient

      Subclass Members'rivate Health Iufouuatiou were material aspects of these implied contracts.

             282.     The uuplied contracts for the provision of medical services — coutracts that iuclnde

      the coutractual obligatious to maintaiu the privacy of Plaintiff s aud Patieut Subclass
             Members'rivate
                 Health Iufonuatiou unless they consented to third-party disclosures—are also

      ackuowledged, memorialized, aud embodied iu multiple documeuts, includiug (among other
      documents) Defeudaut's published Notice of Privacy Practices.
 10          283.     Defeudant's express representations, iucludiug, but uot limited to, the express
      represeutations fouud iu its Website Privacy Notice, memorialize aud embody au implied
 12   contractual obligatiou requiriug Defendaut to refraiu I'rom aidiug or allowiug tlurd parties to
 13   collect Plaiutiff s aud Patieut Subclass Members'rivate Health Information without couseut. By
 14   solicitiug aud acquiriug Plaiutiff s aud Patient Subclass Members'ersonal Health Information,
 15



 17
      Members'6
      Defeudaut asstnned au indepeudent duty to handle Plaiutiff s aud Patient Subclass

      Personal Health htformatiou with dne care aud cousisteut with industry standards to preveut the

      foreseeable harm that arises from a breach of that duty.

             284.     Consumers of healthcare value their privacy, the privacy of their dependents, aud
 19   the ability to keep their Private Health Information associated with obtaming healthcare private.

 20   To customers such as Plaiutiff and the Patieut Subclass Members, healthcare that allows third

 21   paITies to secretly collect their Private Health Iufounatiou without consent is fimdamentally less

 22   useful aud less valuable thau healthcare that ret'rains trom such practices. Plaiutiff aud Patient
 23   Subclass Members would uot have eutmsted their Private Health Information to Defeudaut aud

 24   entered into these implied coutracts with Defeudaut without au understaudmg that their Private
 25   Health Information would be safeguarded aud protected or entrusted their Private Health
 26   Information to Defeudaut iu the absence of its implied promise to do so.
 27

 28   CASE No.                                   —   63—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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             285.    A iueetiug of the miuds occmred wheu Plaintiff and the Patieut Subclass Members

      agreed to, aud did, provide their Private Health Information to Defendaut and/or its affiliated
      healthcare providers aud paid for the provided healthcare iu exchauge for, amongst other things,

      (a) the provisiou of healthcare aud medical services aud (b) the protectiou of their Private Health
      Information.

             286.    Plaiutiff aud the Patient Subclass Members performed their obligations iuider the
      coutract wheu they paid for their healthcare services aud provided their Private Health

      Information.

             287.    Defendaut materially breached its contractual obligation to protect the uoupublic
 10   Private Health htfoiniatiou Defeudaut gathered wheu it allowed Facebook to collect aud exploit

      that information without Plaiutiff s aud Patient Subclass Members'ousent.
 12          288.    Defendaut also materially breached its coutracnial obligatiou to protect Plaintiff s
 13   aud Patieut Subclass Members'ou-public Personal Health Infouuatiou wheu it failed to
 14   implemeut adequate security measures aud policies to protect the coufideutiality of that
 15   infonuatiou. For example, on infonnatiou aud belief, Defendaut (I) failed to implement internal
 16   policies aud procedures prohibitiug the disclosure of      patieuts'ersoual Health Iufouuatiou
 17   without consent to third-party advertisiug companies like Facebook, (2) failed to implemeut

      adequate reviews of the software code aud java script installed on its websites to eusure that
 19   patieuts'ersonal Health Information was uot being automatically routed without couseut to
 20   third-party advertisiug compauies like Facebook, (3) failed to provide adequate notice to the
 21   public that visitors to its websites risked havmg their Personal Health Information shared with
 22   tturd-party advertisiug compames like Facebook, (4) failed to take other iudustry-staudard privacy
 23   protection measures such as providiug a "cookie" acceptauce buttou ou its website homepages,
 24   (5) failed to implement iuternal policies aud educational programs to eusure that Defeudaut's
 25   website iuauagers aud coders were fauuliar with the legal regulatious goveuuug the disclosure
 26   patieut Personal Health Information to third parties, aud (6) failed to install adequate firewalls or
 27

 28   CASE No.

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      take sunilar measures to prevent the automatic routiug of patieuts'ersoual Health Iufouuatiou

      to third-party advertisiug companies like Facebook.

              289.   As a result of Defeudaut's failure to fulfill the data-privacy protections promised

      iu these coutracts, Plaiutiff aud Patieut Subclass Members did uot receive the full beuefit of their

      bargaius, aud iustead received healthcare aud other services that were of a duuiuished value

      compared to those described in the coutracts. Plaintiff and Patient Subclass Members were

      therefore damaged in au amouut at least equal to the differeuce betweeu the value of the healthcare

      services with data privacy they paid for aud the healthcare services they received.

              290.   As a result of Defendant's material breaches, Plaintiff and Patieut Subclass

 10   Members were deprived of the beuefit of their bargaiu with Defeudaut because they speut uiore
      on medical services with Defeudaut thau they would have if they had kuowu that Defeudaut was

 12   uot providiug the reasonable data security aud confideutiality of patient commuuications that
 13   Defeudant represented it was providiug iu its privacy policies. Defendant's failure to houor its
 14   prouuses that it would protect the coufidentiality of patieut couuuuuicatious thus resulted iu
 15   Plaiutiff and Patieut Subclass Members oveq&ayiug Defendant for the services they received.
 16           291.    The services that Plaintiff aud Patieut Subclass Members ultuuately received iu

 17   exchauge for the monies paid to Defeudaut were worth quautifiably less thau the services that

      Defeudaut promised to provide, which included Defeudaut's promise that any patieut
 19   comiuuuicatious with Defeudaut would be treated as coufideutial and would uever be disclosed
 20   to third parties for marketiug purposes without the express conseut of patieuts.

 21           292.    The medical services that Defeudaut offers are available from many other health

 22   care systems who do protect the confideutiality of patient couuuunicatious. Had Defeudaut

 23   disclosed that they would allow third parties to secretly collect Plaiutiff aud Patieut Subclass
 24   Members'rivate Health Iufonnation without conseut, ueither the Plaintiff, the Patieut Subclass
 25   Members, nor auy reasonable person would have purchased healthcare from Defeudaut aud/or
 26   their affiliated healthcare providers.
 27

 28   CASE No.                                   —   65—

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              293.    Defeudant's conduct iu shariug Plaintiffs and Patieut Subclass
                 Members'ersonal
                 Health tufonuatiou with Facebook also diunuished the sales value of that iufonuatiou.

      There is a robust market for the type of iuformatiou that Plaiutiff aud Patient Subclass Members

      shared with Defendaut (which Defeudaut then shared with Facebook). Iudeed, Facebook itself
      has offered to pay the public to acquire siuular iuformatiou in the past so that Facebook could use

      such infornration for marketmg purposes. Plaintiff and Patieut Subclass Members were hauued

      both by the disseuuuatiou of their Personal Health Iufornratiou aud by losiug the sales value of
      that information.

              294.    As a direct aud proxunate result of these failures, Plaintiff and the Patient Subclass

 10   Members have beeu hauued aud have suffered, and will coutiuue to suffer, actual daurages aud

      iujuries, includiug, without liuutatiou, the release and disclosure of their Private Health
 12   Information, the loss of control of their Private Health Iufounation, the dimiuution iu value of
 13   their Persoual Health Infouuatiou, aud the loss of the beuefit of the bargaiu they had struck with
 14   Defeudaut.

 15           295.    Plaiutiff and the Patient Subclass Members are eutitled to compensatory aud
 16   cousequeutial damages suffered as a result.
 17           296.    Plaiutiff aud Patieut Subclass Members also face a real aud iuuuediate threat of
      future injury to the confidentiality of their Personal Health information both because such
 19   iufouuatiou remaius withiu Defeudaut's coutrol aud because auytirue that Plaiutiff aud/or Patieut
 20   Subclass Members iuteract with Defeudaut's websites to make appoiutmeuts, search for

 21   infouuatiou about their medical couditious, search for a doctor, or otherwise seek assistance with
 22   their medical couditious, they risk fmTher disclosure of their Persoual Health Iufonuation.
 23   Plaiuti ff and the Patieut Subclass Members are there fore also eutitled to iujuuctive relief requiriug

 24   Defeudaut to cease all website operatious that allow for the third-party capture of Private Health
 25   Iufornratiou.
 26

 27

 28   CASE No.                                    —   66—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                       COUNT VIII—QUASI-CONTRACT/RESTITUTION/UNJUST
                                        ENRICHMENT
             297.    Plaintiff re-alleges and incorporates all precediug paragraphs.
             298.    Plaiutiff Jane Doe briugs this claim ou behalf of herself aud all members of the
      Patient Subclass.

             299.    Plaintiff Jane Doe pleads this cause of action iu the alteruative to Count VII.
             300.    "Couuuou law priuciples of restitutiou require a paiiy to returu a benefit wheu the

      reteution of such benefit would unjustly eiuich the recipient; a typical cause of action iuvolving

      such remedy is 'quasi-contract.'" Mano=     v. MacMi11nn   (2011) 195 Cal. App. 4th 648, 661,124
      Cal. Rptr. 3d 664; see a/so City   of Onk/nnd v. OnAland Raiders (2022) 83 Cal. App. 5th 458, 299
 10
      Cal. Rptr. 3d 463, 478.

             301.    Plaintiff and Patieut Subclass Members persoually aud directly conferred a beuefit
 12
      ou Defeudaut by paying Defendaut for health care services, which iucluded Defeudaut's
 13
      obligation to protect Plaintiff s and Class Members'ersonal Health hiforinatiou. Defendant was
 14
      aware of receiviug these payineuts I'iom Plaintiff and Patieut Subclass Members aud demauded
 15
      such paymeuts as a coudition of providiug treatment.
 16
             302.    Plaintiff and Patient Subclass Members also conferred a benefit on Defendaut in
 17
      the fouu of valuable sensitive medical iufounation that Defeudaut collected fiom Plaintiff and
 18
      Patieut Subclass Meiubers under the guise of keepiug this information private. Defeudaut
 19
      collected, used, and disclosed this information for its own gaiu, includiug for advertisement
 20
      purposes, sale, or trade for valuable services froiu Facebook and other third parties. Defendaut
 21
      had kuowledge that Plaiutiff aud Patieut Subclass Members had coufeued this beuefit on
 22
      Defeudant by interacting with their website, and Defendaut mteutioually mstalled the Meta Pixel
 23
      tool ou its website to capture and iuonetize this beuefit coufeired by Plaiutiff aud Patient Subclass
 24
      Members.
 25
             303.    Plaintiff aud the Patient Subclass Members would not have used the Defendant's
 26
      services, or would have paid less for those senices, if they had kuowu that Defeudant would
 27

 28   CASE No.                                    —   67—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 71 of 122 Page ID #:85




      collect, use, aud disclose tlus iufouuatiou to Facebook. The services that Plamtiff aud Patieut

      Subclass Members ultimately received iu exchange for the mouies paid to Defeudant were worth

      quautifiably less than the services that Defendaut promised to provide, which included
      Defeudant's promise that auy patieut counnunications with Defeudaut would be treated as
      coufideutial and would uever be disclosed to third parties for marketiug purposes without the

      express consent of patieuts.

             304.    The medical services that Defeudaut offers are available fiom mauy other health

      care systems that do protect the coufidentiality of patient couuuuuicatious. Had Defeudaut

      disclosed that it would allow third parties to secretly collect Plaintiffs and Patieut Subclass
 10   Members'rivate Health Iufounatiou without couseut, ueither Plaiutiff, the Patieut Subclass
      Members, nor auy reasouable persou would have purchased healthcare fiom Defeudaut aud/or its
 12   affiliated healthcare providers.
 13          305.    Defeudant imjustly retaiued those beuefits at the expeuse of Plaiutiff aud Patieut
 14   Subclass Members because Defendant's couduct damaged Plaiutiff aud Patient Subclass

 15   Members, all without providing any commensurate compeusatiou to Plaintiff aud Patient Subclass
 16   Members.
 17          306.    The benefits that Defendaut derived fiom Plaiutiff aud Patient Subclass Members

      rightly belong to Plaintiff and Patieut Subclass Members. It would be inequitable under uujust
 19   euricluneut priuciples for Defeudaut to be peuuitted to retaiu any of the profit or other beuefits it
 20   derived &om the unfair and uucousciouable methods, acts, aud trade practices alleged iu this
 21   Complaint.
 22          307.    Defeudant should be coiupelled to disgorge iu a commou fiuid for the benefit of
 23   Plaiutiff aud Class Members all unlawful or iuequitable proceeds that Defeudaut received, aud
 24   such other relief as the Court may deem just aud proper.
 25                    COUNT IX—VIOLATION OF CAL. BUS. & PROF. CODE                        Q
                                       17200 ET. SEQ.
 26
             308.    Plaintiff re-alleges and incorporates all precediug paragraphs.
 27

 28   CASE No.                                    —   68—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 72 of 122 Page ID #:86




             309.    Plaintiff Jaue Doe briugs this claun ou behalf of herself and all members of the
      Patieut Subclass.

             310.    Defendaut's business acts aud practices are "unlawful" uuder the Uufair

      Competitiou LAw, CAL. Bvs. & PRoF. CODE         ItII   17200 eL seq. (the "UCL") because, as alleged

      above, Defeudaut violated Califouua common law, the California Coustitutiou, aud other statutes

      and causes of actiou alleged herein.

             311.    Defeudant's business acts aud practices are also "unfair" uuder the UCL.
      California has a strong public policy of protectiug cousumers'rivacy iuterests, iucludiug
      consiuners'nd patieuts'ersonal data. Defendant violated this public policy by, amoug other
 10   thiugs, surreptitiously collectiug, disclosiug and othenvise exploitiug Plaiutiff aud Patieut
      Subclass Members'ersoual Health tufonuatiou by shariug that iufouuatiou with Facebook

 12   without Plaiutiff s aud/or Patieut Subclass Members'ousent.
 13          312.    Defeudant's busiuess acts aud practices are also 'uifair" iu that they are immoral,
 14   uuethical, oppressive, unscrupulous, aud/or substautially injurious to patieuts. The gravity of the

 15   harm of Defendaut's secretly collectiug, disclosiug, aud otherwise misusiug Plaintiff s and Patient
 16   Subclass Meiubers'ersonal Health IufoiTnatiou by barteriug it to Facebook iu rettun for access
 17   to the Meta Pixel tool is significant, aud there is uo coirespouding beuefit resultiug &om such

      conduct. Fiually, because Plaintiff and Patient Subclass Members were uuaware of Defeudaut's

 19   couduct, they could not have avoided the harm.
 20          313.    Defendaut's busiuess acts aud practices are also "traudulent" within the meauiug
 21   of the UCL. Defendaut expressly promised Plaintiff and Patieut Subclass Members that they were
 22   comiuitted to protectiug the coufideutiality of their Persoual Health Iufounatiou. Defeudaut also
 23   prouused that they would uever "sell, reut, liceuse, or trade" patieuts'ersoually identifyiug
 24   infouuatiou "to third paITies for their own direct marketing use imless we receive your express
 25   couseut to do so." These prouuses were false. Defeudaut regularly shared Plaintiff and Patieut
 26   Subclass Members'ersonal Health tuformatiou with Facebook so that Facebook could target

 27

 28   CASE No.                                   —   69—

                                CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 73 of 122 Page ID #:87




      Plaintiff and Patient Subclass Members with advertising benefiting Facebook and its business

      partners.

                 314.   Defendant’s business acts and practices were likely to, and did, deceive members

      of the public including Plaintiff and Patient Subclass Members               into believing their Personal

      Health Information would be protected from disclosure to Facebook and other third parties.

                 315.   Defendant’s violations were and are willful, deceptive, unfair, and unconscionable.

                 316.   Had Plaintiff and Patient Subclass Members known that their sensitive medical

      information would be intercepted, collected, and transmitted to Facebook by Defendant, they

      would not have used Defendant’s services.

                 317.   Plaintiff and Patient Subclass Members have a property interest in their Personal

      Health Information. By surreptitiously collecting and otherwise misusing Plaintiff's and Patient

      Subclass Members’ Personal Health Information, Defendant has taken property from Plaintiff and

      Patient Subclass Members without providing just (or indeed any) compensation.

                 318.   Plaintiff and Patient Subclass Members have lost money and property as a result

      of Defendant’s conduct in violation of the UCL. Personal Health Information such as the Personal

      Health Information collected and transmitted to Facebook by Defendant has objective monetary

      value. Companies      are willing to pay for Personal Health Information,              like the information

      unlawfully collected and transmitted by Defendant to Facebook. For example, Pfizer annually

      pays approximately $12 million to purchase health data from various sources.!

                 319.   Consumers also value their personal health data. According to the annual Financial

      Trust Index Survey conducted by the University of Chicago’s Booth School of Business and

      Northwestern University’s Kellogg School of Management, which interviewed more than 1,000

      Americans, 93 percent would not share their health data with a digital platform for free. Half of

      the survey participants would only share their data for $100,000 or more, and 22 percent would

      only share their data if they received between $1,000 and $100,000.!!


      100 https://www.scientificamerican.com/article/how-data-brokers-make-money-off-your-medical-records/

      101 https://Awww.beckershospitalreview.convhealthcare-information-technology/how-much-should-health-data-cost-

      CASE NO.                                        — 70-

                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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              320.     By deceptively collectiug, usiug, aud shariug Plaintiffs aud Patieut Subclass
      Members Persoual Health information with Facebook, Defeudaut has takeu money or property

      &om Plaintiff and Patient Subclass Members. Accordingly, Plaiutiff seeks restitutiou on behalf of

      herself aud the Patient Subclass.
              321.     Plaiutiff aud Patieut Subclass Members also face a real and iuuuediate threat of
      futttre injury to the confidentiality of their Personal Health information both because such

      iufouuatiou remaius withiu Defeudaut's coutrol aud because auytitne that Plaiutiff aud/or Patieut
      Subclass Members iuteract with Defeudaut's websites to make appoiutmeuts, search for

      infouuatiou about their medical couditious, search for a doctor, or otherwise seek assistance with
 10   their medical couditious, they risk fiuTher disclosure of their Persoual Health Iufotnratiou.

      Plaiutiff also coutiuues to desire to search for health iufonuation ou Touauce Memorial's website.
 12   They will continue to suffer harn if the website is not redesigned. If the website were redesigued
 13   to comply with applicable laws, Plaintiff would use the Totrauce Memorial website to search for

 14   health iufounatiou iu the future. Plaiutiff and the Patient Subclass Members are therefore also
 15   entitled to iujunctive relief requiriug Defeudaut to cease all website operations that allow for the
 16   tlurd-party capture of Private Health Infonuatiou.
 17                       COUNT IX—VIOLATIOIN OF CAL. CIVIL CODE                       tt   1798.83

              322.     Plaiutiff re-alleges and incorporates all precediug paragraphs.
 19           323.     Plaintiff Jane Doe briugs this claun ou behalf of herself and all members of the
 20   Patieut Subclass.
 21           324.     California Crvu. CODE     tt   1798.83 requires that "if a business has au established

 22   busiuess relatiouship with a customer aud has withiu the iuunediately precediug caleudar year
 23   disclosed personal information" to a third party and "knows or reasonably should know that the
 24   third parties used the personal informatiou for the third paITies'irect marketiug ptuposes, that
 25   busiuess shall" provide iu wtdtiug to its custotuers      fee of charge (I)   a list   of the categories of
 26

 27   took-or-more-according-to-patients htrnl
 28   CASE No.                                        —   71—

                                    CLAss ACTIDN CoMPLAINT AND DEMAND F0R JURY TRIAL
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 75 of 122 Page ID #:89




      persoual iufounatiou provided to tlurd parties aud (2) the names and addresses of all third parties
      who received the customers'ersonal information duriug the precediug caleudar year. The kinds

      of "persoual infouuatiou" that the statute expressly protects iucludes "medical iufounation,
      "health iusurauce information," aud auy other kiud of iufoiinatiou that "ideutifies, relates to,

      describes, or is capable of beiug associated with ... a particular iudividual." CAI,. CJVII. CODE

      It   1798.80.

                325.    Auy customer who is iujured by a violatiou of the statute iuay iustitute a civil actiou
      to recover damages. CAI.. Civ7L CQDE           Il   1798.84(b). Additionally, "for a willful, iuteutioual, or

      reckless violation of Sectiou 1798.83, a customer may recover a civil penalty uot to exceed three
 10   thousaud dollars ($ 3,000) per violatiou; otherwise, the customer may recover a civil peualty of up
      to five huudred dollars ($ 500) per violatiou for a violation of Section 1798.83." CAL. CIvIL CODE

 12   It   1798.84(c). FIDTher, any busiuess that violates, proposes to violate, or has violated this statute
 13   may be eujoiued. CAL. Civ7L CDDE        I't   1798.84(e).
 14             326.    Facebook is a third party engaged iu direct marketing.
 15             327.    Defendaut failed to disclose to Plaiutiff aud Patieut Subclass Members that it was
 16   regularly collectiug, trausmittiug, aud shariug their Persoual Health Iufoinration with Facebook
 17   so that Facebook could target them with advertisiug. Defeudaut willfully, iutentioually, aud/or

      recklessly failed to provide the iufouuatiou and disclosures required by CAL. Crvii, CDDE                  I't



 19   1798.83 as part of a scheme to barter Plaiutiff s and Patient Subclass           Members'ersoual Health
 20   tufoimatiou to Facebook iu return for access to the Meta Pixel tool.
 21             328.    Plaiutiff and Patient Subclass Members couferred a benefit ou Defeudaut in the
 22   fouu of valuable seusitive medical information that Defeudant collected from Plaiutiff and Patient
 23   Subclass Members uuder the guise of keeping this iufouuatiou private. Defendaut collected, used,

 24   and disclosed this information for its own gain, including for advertisement piuposes, sale, or
 25   trade for valuable seivices t'iom Facebook aud other third parties. Defeudaut had kuowledge that
 26   Plaiutiff aud Patieut Subclass Members had couferred this beuefit on Defeudaut by iuteractiug
 27

 28   CASE No.                                            —   72—

                                   CLAss ACTIDN CoMPLAINT AND DEMAND F0R JURY TRIAL
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 76 of 122 Page ID #:90




      with their website, and Defeudaut iuteutioually iustalled the Meta Pixel tool ou their website to
      capture aud monetize this beuefit couferred by Plaiutiff aud Patient Subclass Members.

              329.    Plaiutiff aud Patient Subclass Members also confeired a benefit on Defendant by

      paying Defendaut for health care services, which iucluded Defeudaut's obligation to protect
      Plaiutiff s aud Patient Subclass Members'ersonal Health tufonuatiou. Defendant was aware of
      receiviug these payments Rom Plaintiff aud Patieut Subclass Members aud demanded such

      paymeuts as a conditiou of providiug treatiuent.
              330.   Plaiutiff aud the Patient Subclass Members would uot have used the Defeudaut's
      services, or would have paid less for those seivices,   if they had known that Defeudant would
 10   collect, use, aud disclose tins iufouuatiou to Facebook. The services that Plamtiff aud Patieut

      Subclass Members ultimately received iu exchange for the mouies paid to Defeudant were worth

 12   quautifiably less than the services that Defendaut promised to provide, which included
 13   Defeudant's promise that auy patieut couununications with Defeudaut would be treated as
 14   coufideutial and would uever be disclosed to third parties for marketiug purposes without the
 15   express consent of patieuts.
 16           331.    The medical services that Defeudaut offers are available fiom mauy other health

 17   care systems who do protect the coufideutiality of patieut communications. Had Defeudant

      disclosed that it would allow third parties to secretly collect Plaintiffs and Patieut Subclass
 19   Members'rivate Health tufounatiou without couseut, ueither Plaiutiff, the Patieut Subclass
 20   Members, uor auy reasonable person would have purchased healthcare fiom Defeudaut aud/or
 21   their affiliated healthcare providers.
 22           332.   Defeudant Imjustly retaiued those beuefits at the expeuse of Plaiutiff aud Patieut
 23   Subclass Members because Defendant's couduct damaged Plaiutiff aud Patient Subclass

 24   Members, all without providing any commensurate compeusatiou to Plaintiff aud Patient Subclass
 25   Members.
 26

 27

 28   CASE No.                                  —   73—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 77 of 122 Page ID #:91




             333.    Plaiutiff aud Patient Subclass Members were damaged by Defeudaut's failure to
      iufouu them that their every couunuuicatiou aud Persoual Health information was beiug shared
      with Facebook, resulting iu, at minuniun, the following damages:

             (a)     Seusitive aud coufidential iufoinratiou that Plaiutiff aud Patieut Subclass

                     Members iuteuded to remaiu private is no louger private;

             (b)     Defendaut eroded the essential coufidential nature of the doctor-patieut

                     relationship;

             (c)     Defendaut took somethiug of value fiom Plaiutiff aud Patieut Subclass

                     Members and derived beuefit therefrom without Plaintiffs aud Patieut
 10                  Subclass Members'uowledge or mfoimed conseut aud without shariug the

                     beuefit of such value;
 12          (d)     Plaiutiff aud Patieut Subclass Members did uot get the full value of the
 13                  medical services for which they paid, which iucluded Defeudaut's duty to
 14                  maiutaiu coufideutiality; aud
 15          (e)     Defendaut's actions dimuushed the value of Plaintiff and Patient Subclass
 16                  Members'ersoual iufonnatiou.
 17          334.    Plaiutiff also coutiuues to desire to search for health information ou Tonance
      Memorial's website. She will coutimie to suffer hami if Defeudaut does not make adequate
 19   disclosures regardiug which third party marketiug compauies are receiviug Plamtiff s aud Patient
 20   Subclass Members'rotected health iufonuatiou. Plaiutiff and the Patient Subclass Members are

 21   therefore also eutitled to injunctive relief requiring Defeudaut to comply with CAL. Crv. CODE   $

 22   1798.83.

 23                                    VIII. DEMAND FOR JURY TRIAL
 24          335.    Plaiutiff hereby demauds a trial by jiuy ou all issues so triable.
 25                                       IX. PRAYER FOR RELIEF
 26          WHEREFORE, Plaiutiff ou behalf of herself aud the proposed Class respectfully requests
 27
      that the Court enter an order:
 28   CASE No.                                   —   74—

                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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             A.     Certifyiug the Classes aud appoiutiug Plaiutiff as the Classes'epreseutative;
             B.     Appoiuting the law firms of Caddell & Chapman, Alunad, Zavitsauos, &
                    Mensiug P.C., aud Turke & Strauss, LLP as Class Couusel;
             C.     Fiudiug that Defendaut's conduct was uulawful, as alleged hereiu;
             D.     Awardiug such injunctive and other equitable relief as the Court deems just and
                    proper;
             E.     A declaration that Defeudant is fmancially responsible for all Class notice and
                    the aduunistratiou of Class relief;

             F.     Awardiug Plaintiff and the Class Members statutory, actual, compensatory,
                    cousequential, puuitive, aud uouunal damages, as well as restitution and/or
                    disgorgeuient of profits unlawfully obtaiued;
             G.     Awardiug Plaiutiff aud the Class members pre-judgmeut aud post-judgment
 10                 iuterest;

             H.     Awardiug Plaiutiff aud the Class members reasouable attoiueys'ees, costs, and
                    expenses; aud
 12
             I.     Grautiug such other relief as the Coiur deems just aud proper.
 13

 14

 15   Dated: January 9, 2023                       Respectfully submitted,
 16
                                             By: /s//FI/c/me/A. Car/de/I
 17
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 21                                                P.O. Box 1311
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 22                                                Tel.: (713) 751-0400
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 23

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 28   CAsE No.                                 —   75—

                               CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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 13
                                             *   Motions for Adnussion to be filed
 14
                                             COUNSEL FOR PLAINTIFFS,
 15                                          INDIVIDUALLY AND ON BEHALF OF ALL
                                             OTHERS SIAIILARLY SITUATED
 16

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 28   CASE No.                           —   76—

                          CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Electronically FILED by Superior Court of California, County of Los Angeles on 01/09/2023 01:36 PM David W. Slayton, Executive Officer/Clerk of Court, by G. Carini,Deputy Clerk
                 Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 80 of 122 Page ID #:94
                                                                                       23STCV00395
                                                                                               CM-010
            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                             FOR COURT USE ONLY




                    TELEPHONE NO.:                                          FAX NO.:
             ATTORNEY FOR (Name):
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF
                   STREET ADDRESS:
                  MAILING ADDRESS:
                  CITY AND ZIP CODE:

                      BRANCH NAME:
               CASE NAME:
               Jane Doe v. Torrance Memorial Medical Center
                                                                                                                                CASE NUMBER:
                  CIVIL CASE COVER SHEET                                        Complex Case Designation
                    Unlimited        Limited
                    (Amount          (Amount                     Counter              Joinder
                                                                                                   JUDGE:
                    demanded         demanded is          Filed with first appearance by defendant
                    exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                                        Items 1–6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
                 Auto Tort                                              Contract                                        Provisionally Complex Civil Litigation
                        Auto (22)                                              Breach of contract/warranty (06)         (Cal. Rules of Court, rules 3.400–3.403)
                        Uninsured motorist (46)                                Rule 3.740 collections (09)                     Antitrust/Trade regulation (03)
                 Other PI/PD/WD (Personal Injury/Property                      Other collections (09)                          Construction defect (10)
                 Damage/Wrongful Death) Tort                                   Insurance coverage (18)                         Mass tort (40)
                       Asbestos (04)                                          Other contract (37)                              Securities litigation (28)
                        Product liability (24)                          Real Property                                          Environmental/Toxic tort (30)
                        Medical malpractice (45)                              Eminent domain/Inverse                           Insurance coverage claims arising from the
                        Other PI/PD/WD (23)                                   condemnation (14)                                above listed provisionally complex case
                                                                              Wrongful eviction (33)                           types (41)
                 Non-PI/PD/WD (Other) Tort
                        Business tort/unfair business practice (07)      Other real property (26)                       Enforcement of Judgment
                        Civil rights (08)                           Unlawful Detainer                                          Enforcement of judgment (20)
                        Defamation (13)                                  Commercial (31)                                Miscellaneous Civil Complaint
                        Fraud (16)                                             Residential (32)                                RICO (27)
                        Intellectual property (19)                             Drugs (38)                                      Other complaint (not specified above) (42)
                        Professional negligence (25)                    Judicial Review                                 Miscellaneous Civil Petition
                      Other non-PI/PD/WD tort (35)                            Asset forfeiture (05)
                                                                                                                               Partnership and corporate governance (21)
                 Employment                                                    Petition re: arbitration award (11)
                                                                                                                               Other petition (not specified above) (43)
                      Wrongful termination (36)                                Writ of mandate (02)
                        Other employment (15)                                  Other judicial review (39)
          2. This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
             a.       Large number of separately represented parties        d.      Large number of witnesses
             b.       Extensive motion practice raising difficult or novel  e.      Coordination with related actions pending in one or more courts
                      issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
             c.       Substantial amount of documentary evidence            f.      Substantial postjudgment judicial supervision

          3.     Remedies sought (check all that apply): a.       monetary b.          nonmonetary; declaratory or injunctive relief                                  c.         punitive
          4.     Number of causes of action (specify): 9
          5.     This case         is         is not a class action suit.
          6.     If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: January 9, 2023
          s/Michael A. Caddell
                                              (TYPE OR PRINT NAME)                                                    (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                          NOTICE
             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                 under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                 in sanctions.
             •   File this cover sheet in addition to any cover sheet required by local court rule.
             •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                 other parties to the action or proceeding.
             •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                   Page 1 of 2
                                                                                                                                    Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
           Form Adopted for Mandatory Use
             Judicial Council of California
                                                                        CIVIL CASE COVER SHEET                                              Cal. Standards of Judicial Administration, std. 3.10
              CM-010 [Rev. July 1, 2007]                                                                                                                                  www.courtinfo.ca.gov
     Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 81 of 122 Page ID #:95
                                                                                                                                       CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                           Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                       Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                                Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                          Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                       complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                            Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                               Other Contract Dispute                             Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                 Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                          Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                         Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                          Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                          domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                 foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                  (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                                drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                    report as Commercial or Residential)               above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                   Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                          Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                        Writ–Other Limited Court Case                            Claim
Employment                                                    Review                                         Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal–Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET
      Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 82 of 122 Page ID #:96
 SHORT TITLE                                                                                                      CASE NUMBER



                     CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

       This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.


                                   Applicable Reasons for Choosing Courthouse Location (Column C)
 1.    Class Actions must be filed in the Stanley Mosk Courthouse, Central District.        7.    Location where petitioner resides.

 2.    Permissive filing in Central District.                                               8.    Location wherein defendant/respondent functions wholly.

 3.    Location where cause of action arose.                                                9.    Location where one or more of the parties reside.

 4.    Location where bodily injury, death or damage occurred.                              10.   Location of Labor Commissioner Office.

 5.    Location where performance required, or defendant resides.                           11.   Mandatory filing location (Hub Cases – unlawful detainer, limited
                                                                                                  non-collection, limited collection).
 6.    Location of property or permanently garaged vehicle.




                                A                                                             B                                                        C
                        Civil Case Cover                                                Type of Action                                             Applicable
                        Sheet Case Type                                                (check only one)                                          Reasons (see
                                                                                                                                                 Step 3 above)
                              Auto (22)                2201 Motor Vehicle – Personal Injury/Property Damage/Wrongful                                  1, 4
                                                    Death
                       Uninsured Motorist             4601 Uninsured Motorist – Personal Injury/Property                                                1, 4
                              (46)                  Damage/Wrongful Death
                         Other Personal                 2301 Premise Liability (e.g., dangerous conditions of property,                                 1, 4
                        Injury/ Property            slip/trip and fall, dog attack, etc.)
                       Damage/ Wrongful
                           Death (23)                   2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                   1, 4
                                                    (e.g., assault, battery, vandalism, etc.)

                                                        2303 Intentional Infliction of Emotional Distress                                               1, 4

                                                        2304 Other Personal Injury/Property Damage/Wrongful Death                                       1, 4

                                                       2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                                  1, 4
                                                    Facility

                                                        2306 Intentional Conduct – Sexual Abuse Case (in any form)                                      1, 4



LASC CIV 109 Rev. 01/23                           CIVIL CASE COVER SHEET ADDENDUM                                                          LASC Local Rule 2.3
For Mandatory Use                                   AND STATEMENT OF LOCATION
   Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 83 of 122 Page ID #:97
 SHORT TITLE                                                                               CASE NUMBER




                          A                                                   B                                          C
                Civil Case Cover                                     Type of Action                                 Applicable
                Sheet Case Type                                     (check only one)                              Reasons (see
                                                                                                                  Step 3 above)
                                           2307 Construction Accidents                                                 1, 4
                                           2308 Landlord – Tenant Habitability (e.g., bed bugs, mold, etc.)            1, 4
               Product Liability (24)      2401 Product Liability (not asbestos or toxic/ environmental)               1, 4

                                                                                                                      1, 3, 5
                                            2402 Product Liability – Song-Beverly Consumer Warranty Act (CA
                                        Civil Code §§1790-1795.8) (Lemon Law)
               Medical Malpractice         4501 Medical Malpractice – Physicians & Surgeons                            1, 4
                      (45)
                                           4502 Other Professional Health Care Malpractice                             1, 4
                Business Tort (07)         0701 Other Commercial/Business Tort (not fraud or breach of                1, 2, 3
                                        contract)
                 Civil Rights (08)         0801 Civil Rights/Discrimination                                           1, 2, 3
                 Defamation (13)           1301 Defamation (slander/libel)                                            1, 2, 3
                    Fraud (16)             1601 Fraud (no contract)                                                   1, 2, 3
                  Professional             2501 Legal Malpractice                                                     1, 2, 3
                 Negligence (25)
                                           2502 Other Professional Malpractice (not medical or legal)                 1, 2, 3
                    Other (35)             3501 Other Non-Personal Injury/Property Damage Tort                        1, 2, 3
                   Wrongful                3601 Wrongful Termination                                                  1, 2, 3
                Termination (36)
               Other Employment            1501 Other Employment Complaint Case                                       1, 2, 3
                      (15)
                                           1502 Labor Commissioner Appeals                                              10

               Breach of Contract /       0601 Breach of Rental/Lease Contract (not unlawful detainer or               2, 5
                  Warranty (06)         wrongful eviction)
                 (not insurance)
                                            0602 Contract/Warranty Breach – Seller Plaintiff (no                       2, 5
                                        fraud/negligence)
                                           0603 Negligent Breach of Contract/Warranty (no fraud)                      1, 2, 5
                                           0604 Other Breach of Contract/Warranty (no fraud/ negligence)              1, 2, 5
                                           0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)                 2, 5
                 Collections (09)          0901 Collections Case – Seller Plaintiff                                  5, 6, 11
                                           0902 Other Promissory Note/Collections Case                                 5, 11
                                           0903 Collections Case – Purchased Debt (charged off consumer debt         5, 6, 11
                                        purchased on or after January 1, 2014)
                                           0904 Collections Case – COVID-19 Rental Debt                                5, 11
               Insurance Coverage          1801 Insurance Coverage (not complex)                                     1, 2, 5, 8
                      (18)



LASC CIV 109 Rev. 01/23                 CIVIL CASE COVER SHEET ADDENDUM                                       LASC Local Rule 2.3
For Mandatory Use                         AND STATEMENT OF LOCATION
   Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 84 of 122 Page ID #:98
 SHORT TITLE                                                                         CASE NUMBER




                          A                                             B                                        C
                Civil Case Cover                                  Type of Action                            Applicable
                Sheet Case Type                                  (check only one)                         Reasons (see
                                                                                                          Step 3 above)
               Other Contract (37)      3701 Contractual Fraud                                               1, 2, 3, 5
                                        3702 Tortious Interference                                           1, 2, 3, 5
                                        3703 Other Contract Dispute (not breach/insurance/fraud/            1, 2, 3, 8, 9
                                     negligence)
                Eminent Domain/         1401 Eminent Domain/Condemnation                                        2, 6
                     Inverse                                                Number of Parcels _________
               Condemnation (14)
                Wrongful Eviction       3301 Wrongful Eviction Case                                             2, 6
                       (33)
                   Other Real           2601 Mortgage Foreclosure                                               2, 6
                  Property (26)         2602 Quiet Title                                                        2, 6
                                        2603 Other Real Property (not eminent domain,                           2, 6
                                     landlord/tenant, foreclosure)
               Unlawful Detainer        3101 Unlawful Detainer – Commercial (not drugs or wrongful             6, 11
               – Commercial (31)     eviction)
               Unlawful Detainer        3201 Unlawful Detainer – Residential (not drugs or wrongful            6, 11
               – Residential (32)    eviction)
               Unlawful Detainer        3401 Unlawful Detainer – Post Foreclosure                             2, 6, 11
               – Post Foreclosure
                      (34)
               Unlawful Detainer        3801 Unlawful Detainer – Drugs                                        2, 6, 11
                  – Drugs (38)
                Asset Forfeiture        0501 Asset Forfeiture Case                                            2, 3, 6
                      (05)
                   Petition re          1101 Petition to Compel/Confirm/Vacate Arbitration                      2, 5
                Arbitration (11)
                Writ of Mandate         0201 Writ – Administrative Mandamus                                     2, 8
                      (02)              0202 Writ – Mandamus on Limited Court Case Matter                        2
                                        0203 Writ – Other Limited Court Case Review                              2
                 Other Judicial         3901 Other Writ/Judicial Review                                         2, 8
                  Review (39)
                                        3902 Administrative Hearing                                             2, 8

                                        3903 Parking Appeal                                                     2, 8

                Antitrust/Trade         0301 Antitrust/Trade Regulation                                       1, 2, 8
                Regulation (03)
                 Asbestos (04)          0401 Asbestos Property Damage                                          1, 11

                                        0402 Asbestos Personal Injury/Wrongful Death                           1, 11


LASC CIV 109 Rev. 01/23              CIVIL CASE COVER SHEET ADDENDUM                                  LASC Local Rule 2.3
For Mandatory Use                      AND STATEMENT OF LOCATION
   Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 85 of 122 Page ID #:99
 SHORT TITLE                                                                         CASE NUMBER




                          A                                              B                                        C
                Civil Case Cover                                Type of Action                               Applicable
                Sheet Case Type                                (check only one)                            Reasons (see
                                                                                                           Step 3 above)
                   Construction           1001 Construction Defect                                             1, 2, 3
                    Defect (10)
                 Claims Involving         4001 Claims Involving Mass Tort                                      1, 2, 8
                  Mass Tort (40)
               Securities Litigation      2801 Securities Litigation Case                                      1, 2, 8
                       (28)
                    Toxic Tort            3001 Toxic Tort/Environmental                                       1, 2, 3, 8
               Environmental (30)
               Insurance Coverage         4101 Insurance Coverage/Subrogation (complex case only)             1, 2, 5, 8
                   Claims from
                Complex Case (41)
                 Enforcement of           2001 Sister State Judgment                                          2, 5, 11
                  Judgment (20)
                                          2002 Abstract of Judgment                                             2, 6

                                          2004 Administrative Agency Award (not unpaid taxes)                   2, 8

                                          2005 Petition/Certificate for Entry of Judgment Unpaid Tax            2, 8

                                          2006 Other Enforcement of Judgment Case                              2, 8, 9

                    RICO (27)             2701 Racketeering (RICO) Case                                        1, 2, 8
                Other Complaints          4201 Declaratory Relief Only                                         1, 2, 8
                 (not specified
                                          4202 Injunctive Relief Only (not domestic/harassment)                 2, 8
                   above) (42)
                                          4203 Other Commercial Complaint Case (non-                           1, 2, 8
                                       tort/noncomplex)
                                          4204 Other Civil Complaint (non-tort/non-complex)                    1, 2, 8
                  Partnership             2101 Partnership and Corporation Governance Case                      2, 8
                  Corporation
                Governance (21)
                Other Petitions           4301 Civil Harassment with Damages                                   2, 3, 9
                 (not specified
                                          4302 Workplace Harassment with Damages                               2, 3, 9
                  above) (43)
                                          4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3, 9
                                          4304 Election Contest                                                   2
                                          4305 Petition for Change of Name/Change of Gender                     2, 7
                                          4306 Petition for Relief from Late Claim Law                         2, 3, 8
                                          4307 Other Civil Petition                                             2, 9




LASC CIV 109 Rev. 01/23                CIVIL CASE COVER SHEET ADDENDUM                                 LASC Local Rule 2.3
For Mandatory Use                        AND STATEMENT OF LOCATION
         Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 86 of 122 Page ID
                                           #:100
 SHORT TITLE                                                                    CASE NUMBER



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No address required for class action cases.)

 REASON:                                                           ADDRESS:
   1. 2.       3.   4.    5.   6.   7.   8.   9.   10.   11

 CITY:                              STATE:         ZIP CODE:


Step 5: Certification of Assignment: I certify that this case is properly filed in the ____________________
District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
Rule 2.3(a)(1)(E)]

Dated: ___________________                                     ____________________________________________
                                                                         (SIGNATURE OF ATTORNEY/FILING PARTY

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE:

    1. Original Complaint or Petition.
    2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
    3. Civil Case Cover Sheet Judicial Council form CM-010.
    4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (01/23).
    5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
    6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
       petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
    7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
       addendum must be served along with the Summons and Complaint, or other initiating pleading in the
       case.




LASC CIV 109 Rev. 01/23              CIVIL CASE COVER SHEET ADDENDUM                             LASC Local Rule 2.3
For Mandatory Use                      AND STATEMENT OF LOCATION
       Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 87 of 122 Page ID
                                         #:101                  Reserved for Clerk’s File Stamp
              SUPERIOR COURT OF CALIFORNIA
                  COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                  CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 23STCV00395

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                   ASSIGNED JUDGE             DEPT    ROOM
   ✔     Lawrence P. Riff                   7




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
       01/09/2023
    on _____________________________                                         G. Carini
                                                                          By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
        Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 88 of 122 Page ID
                                              #:102
                          INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
    Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 89 of 122 Page ID
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               %$ÿ$0%.p*+%,ÿ%3ÿ*n ÿo-0ÿ+,ÿ-ÿU-,, $ÿ*n-*ÿ#$0$ 0ÿ%o*+%,0ÿ%$ÿ#$++.2 0ÿrÿ-2$ U ,*ÿ
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                   T/U-V3WXYZÿ
         [\ÿ /U-]Y3YW/Xÿ/5ÿ03U34^_ÿWXTV]0WX4ÿ0/T]UXY^_ÿX/Yÿ-.WWV40ÿ/.ÿ-./YTY0ÿ5./Uÿ0W^TV/^]._ÿ/Xÿ
                   `[WT[ÿ^]T[ÿT/U-]Y3YW/XÿW^ÿa3^0Zÿ
         W\ÿb[Y[.ÿY[ÿT3^ÿW^ÿ^]WY3aVÿ5/.ÿY[ÿ8c-0WY0ÿd].eÿ4.W3Vÿ-./T0].^ÿ^ÿWX5/.U3YW/Xÿ3Yÿ
                   fffghijklmngkmoÿ:=6;Cÿ@pqrqsRÿD=6ÿ>?;=ÿ:=6;Cÿ@tuvuwxsÿzv{|w}x~q|vRKÿÿ
\ÿ 4[ÿYWUÿ5/.ÿ3ÿ05X0WX4ÿ-3.YeÿY/ÿ.^-/X0ÿY/ÿ3ÿT/U-V3WXYÿ/.ÿT./^^T/U-V3WXYÿ`WVVÿaÿcYX00ÿ
                   Y/ÿÿ5/.ÿY[ÿÿT/U-V3WXY_ÿ3X0ÿÿ5/.ÿÿY[ÿÿT./^^ÿÿ
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                   T/U-V3WXY_ÿ̀[WT[ÿW^ÿT/U-.W^0ÿ/5ÿY[ÿÿ03e^ÿY/ÿ.^-/X0ÿ]X0.ÿ/.XUXYÿ/0ÿÿa_ÿ
                   3X0ÿY[ÿÿ03e^ÿ-.UWYY0ÿaeÿ /0ÿ/5ÿ WWVÿ2./T0].ÿ^TYW/Xÿ13_ÿ4//0ÿT3]^ÿ[3WX4ÿ
                   aXÿ5/]X0ÿaeÿY[ÿWWVÿ0]-.W^WX4ÿd]04ÿ0]ÿY/ÿY[ÿT3^ÿU3X34UXYÿaX5WY^ÿ-./W00ÿaeÿ
                   Y[W^ÿ0YW-]V3YW/X\ÿÿT/-eÿ/5ÿY[ÿX.3Vÿ2.0.ÿT3Xÿaÿ5/]X0ÿ3Yÿsx|w~|wÿ:=6;Cÿ@pqrqsRÿ
                   9B79PÿI=ÿ@tuvuwxsÿzv{|w}x~q|vRÿ>?;=ÿ9B79PÿI=ÿ@|sv~xwÿ{{qquv~ÿq~qx~q|vÿ~qsx~q|vRÿ
\ÿ 4[ÿ-3.YW^ÿ`WVVÿ-.-3.ÿ3ÿ/WXYÿ.-/.YÿYWYV0ÿ@d/WXYÿ0Y3Y]^ÿ3-/.Yÿ2].^]3XYÿY/ÿ6XWYW3Vÿ/X5.XTÿ
                   3X0ÿ83.Veÿ2.43XW3YW/X3VÿYWX4ÿ0YW-]V3YW/X_ÿ3X0ÿW5ÿ0^W.0_ÿ3ÿ-./-/^0ÿ/.0.ÿ^]UU3.WWX4ÿ
                   .^]VY^ÿ/5ÿY[W.ÿUYÿ3X0ÿT/X5.ÿ3X0ÿ30W^WX4ÿY[ÿ /].Yÿ/5ÿ3Xeÿ`3eÿWYÿU3eÿ3^^W^YÿY[ÿ-DC>7;8ÿ
                   55WTWXYÿT/X0]TYÿ/.ÿ.^/V]YW/Xÿ/5ÿY[ÿT3^\ÿÿ4[ÿ-3.YW^ÿ^[3VVÿ3YY3T[ÿY[ÿd/WXYÿ0Y3Y]^ÿ3-/.YÿY/ÿ
                   Y[ÿ 3^ÿ3X34UXYÿ /X5.XTÿ^Y3YUXY_ÿ3X0ÿ5WVÿY[ÿ0/T]UXY^ÿ`[XÿY[ÿ  ÿ
                   ^Y3YUXYÿW^ÿ0]\ÿ
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                   3Xeÿ3TYÿ-].^]3XYÿY/ÿY[W^ÿ^YW-]V3YW/Xÿ53VV^ÿ/Xÿ3ÿ03Y].03e_ÿ0]X03eÿ/.ÿ/].Yÿ[/VW03e_ÿY[XÿY[ÿYWUÿ
                   5/.ÿ-.5/.UWX4ÿY[3Yÿ3TYÿ^[3VVÿaÿcYX00ÿY/ÿY[ÿXcYÿ/].Yÿ03eÿ
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 Oÿ 637>'ÿ)76&'ÿ+8ÿ(+,)',)0ÿ:*ÿ7,<ÿ.&-,/ÿ450)ÿ6'ÿ6++P47*P'3?
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                                    #:124
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            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Jane Doe,
DEFENDANT/RESPONDENT:
Torrance Memorial Medical Center
                                                                              CASE NUMBER:
                        CERTIFICATE OF MAILING                                23STCV00395

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order) of 01/10/2023, Initial
Status Conference upon each party or counsel named below by placing the document for collection and
mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    Michael Allen Caddell
    Caddell & Chapman
    P.O. Box 1311
    Monterey, CA 93942




                                                       David W. Slayton, Executive Officer / Clerk of Court
Dated: 01/10/2023                                      By:   A. Morales
                                                             Deputy Clerk




                                       CERTIFICATE OF MAILING
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 111 of 122 Page ID
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                     SUPERIOR COURT OF THE STATE OF CALIFORNIA                                  -

                              FOR THE COUNTY OF LOS ANGELES



 JANE DOE                                    Case No.: 23STCV00395

                         Plaintiff,          INITIAL STATUS CONFERENCE ORDER
                                             (COMPLEX LITIGATION)
  V.
 TORRANCE         MEMORIAL                   Case assigned for all purposes to
                                             Judge Lawrence P. Riff
 MEDICAL CENTER
                                             Spring Street Courthouse
                                             Department 7
                         Defendant
                                             ISC Date: March 30, 2023 at 9:00 a.m.




           This case has been assigned for all purposes to Judge Lawrence P. Riff, Complex

       Litigation, Department 7. PLEASE READ THE COURTROOM                       INFORMATION FOR

       DEPARTMENT 7 POSTED ON THE COURT’S WEBSITE (www. lacourt.org.)

           The Court has scheduled an Initial Status Conference on March 30, 2023 at 9:00

       a.m. in Department 7, Second Floor, 312 North Spring Street, Los Angeles, California

       90012.   Department 7 utilizes the LACourtConnect video and telephonic conference
       Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 112 of 122 Page ID
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           platform for hearings.             To minimize social contact and avoid the risk of COVID-19

           infection,    the   Court     encourages         parties    and     counsel        to     appear        remotely   (via

           LACourtConnect).           When appearing via telephone or video-conference, please call

           in from a quiet place and bear in mind that the technology only allows one person to

           be heard at a time.         Please pause frequently so that the Court can interject questions

           and direct the discussion to the issues that are most important to the Court.

                The purpose of the Initial Status Conference is to identify a fair and efficient way

           of   proceeding     with     the     case.   The     Court       encourages             the   parties     to   propose

           approaches to case management that will promote the fair and efficient handling of

           the case.     The Court is particularly interested in identifying dispositive or significant

           issues that may be addressed early in the case.                     For example, if an important issue

           in the case is the admissibility of critical evidence (such as expert testimony), an early

           motion in limine to decide that issue may be the most efficient way to proceed.                                     Or,

           if the Court’s interpretation of provisions in a contract is a key issue, it may make

           sense for the plaintiff to amend the complaint (or the defendant to amend the answer)

          to attach      a copy    of the contract so that the court can                      adjudicate       the    issue   in a

          demurrer.

                   The     Court       orders     counsel      for    all    parties     to        confer     via     telephone,

          videoconference or other real time technology, at least 20 days before the Initial

          Status Conference.           The purpose of the meeting is to discuss the following issues so

          that counsel can prepare a Joint Statement to be filed with the Court five court days

          before the Initial Status Conference.
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 113 of 122 Page ID
                                  #:127



           All parties in Department 7 must sign up with an e-service provider and activate

    a message board so that the Court can communicate with counsel prior to the ISC.

    The Court orders the parties to agree upon and sign up with an e-service provider

    (Case Anywhere,     File & ServeXpress, or Case Homepage) at least 10 court days

    before the ISC.     So that the Court can promptly issue an order appointing the e-

    service provider, the Court orders Plaintiffs counsel to identify the selected e-service

    provider by sending an email to Dept.    7 at   SSCDept7 @lacourt.org upon agreement

    of an e-service provider.                                                                  |

           Please remember that electronic service is not the same as electronic filing.

           To reserve a hearing date, please telephone the courtroom staff when the

    motion is ready to be filed.              |

            Plaintiff's counsel should take the lead in preparing the Joint Statement and

    in ensuring that it includes a brief description of the facts and causes of action and

   addresses the following questions.

   Are there any issues of judicial recusal or disqualification?

   Are any parties improperly named as defendants?

   Will either side challenge jurisdiction or venue or move to compel arbitration?

   What are the key legal and factual issues affecting each side’s evaluation of this

   case?

   Are any of these key issues suitable for an early adjudication? For example, does it

   make    sense for the court to promptly adjudicate a statute of limitation defense,

   interpret a provision in a statute, adjudicate the adequacy of a class representative,

   or decide the admissibility of critical evidence?
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 114 of 122 Page ID
                                  #:128



 6)    Is the most efficient procedure for presenting key issues to the court a motion,

       bifurcated trial, motion in limine, motion to certify or deny class certification, or another

      _ proceeding?

 7)    How and when do the parties plan to engage in the various forms of discovery? ' |

 8)   Does it make sense to bifurcate certain issues for discovery or trial?

 9)   How will the parties preserve evidence and uniformly identify documents produced in

      discovery?

 10) Do the parties need to execute a joint stipulation for protective order?                              The court

      recommends the model protective orders found on the Los Angeles Superior Court

      Website under “Civil Tools for Litigators.”

 11) Will the parties employ a mediator or ask the Court to order a mandatory settlement

      conference as a means of alternative dispute resolution (ADR)?

 12) Does any party have insurance (indemnity or reimbursement) and are there any

      potential coverage issues that may affect settlement?

      In addition to addressing these questions, the parties’ Joint Statement must include

      the following information.

 13) The estimated size of any putative class.2




            ' If electronically stored information must be produced, the court encourages the parties to have their
 respective IT consultants/employees participate in the meet and confer process addressing (1) the information
 management systems employed by the parties; (2) the location and custodians of information (including the
 identification of network and email servers and hard drives maintained by target custodians); (3) the format in which
 electronically stored information will be produced; (4) the type of ESI that will be produced, i.e., data files, emails,
 etc.; (5) appropriate search criteria for focused requests.

       _ 2 In class action/PAGA Initial Status Conferences, the court generally orders the parties to utilize the
 procedure approved in Bel-Aire West Landscape, Inc. v. Superior Court (2007) 149 Cal.App.4" 554, sharing the cost
 equally.
                  Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 115 of 122 Page ID
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                   14) A deadline for adding and serving any new parties.

                   15) The parties’ selected e-service provider (Case Anywhere,                          FileandServeXpress,           or

                          Case Homepage).?

                   16) A description (including case numbers) of any related cases pending in other courts

                          (including class actions with overlapping class definitions).

                   17) Whether the parties stipulate that discovery and/or pleading stays entered by the

                          Court for case management             purposes are excluded from the five year rule under

                          Code of Civil Procedure Section 583.310.

                   18) A service list identifying all primary and secondary counsel ‘along with their firm

                          names, addresses, telephone numbers, email addresses and fax numbers.

                   19) Recommended dates and times for the following:

                   a.   The next status conference.

                   b.     Mediation completion.

                   c. A     filing deadline (and proposed briefing schedule) for key motions or proceedings, if

                        any.

                        To the extent the parties are unable to agree on the matters to be addressed in the

                        Joint Statement, each side may state its position in point/counterpoint fashion.

                                The Court orders each defendant to file a Notice of Appearance for purposes

                        of identifying and serving all counsel.              The Notice of Appearance shall be without

                        prejudice    to   any    affirmative     defense,      cross     complaint,      affirmative     defense      or

                        jurisdictional challenge.

             27
                             3 E-service does not effectuate a justiciable filing with the court. Uploading a document onto the e-service
             28    provider’s website provides notice to the court and to the parties but does not place them in the public record or
                   effectuate a filing with the court.
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 116 of 122 Page ID
                                  #:130



            Except for the filing of a Notice of Related Case or a Motion to Compel

    Arbitration,     the   Court   stays   all other   proceedings   in this    action.     The   Court

    issues the stay to assist the Court and the parties in this “complex” case by ensuring,

    among other things, an orderly schedule for briefing and hearings on procedural and

    substantive challenges to the complaint. This stay precludes the filing of any answer,

    demurrer, motion to strike, or motion challenging the jurisdiction of the Court.                The

    Stay does not apply to the filing of a notice of related case or any motion to compel

    arbitration.    Before filing a motion to compel arbitration, the Defendant must provide

   the plaintiff with a copy of the arbitration agreement and meet and confer with counsel

   to determine       whether the plaintiff will oppose      the motion     to compel      arbitration.

   Although this stay applies to formal discovery, it does not prevent the parties from

   informally      exchanging      documents    or information   that may      assist   in their initial

   evaluation of the issues presented in this case. Any future stay ordered by the Court

   for purposes of case management is not a stay under Code of Civil Procedure section

   583.310 unless the Court so orders.

            The Court orders Plaintiffs’ counsel to serve this Initial Status Conference

   Order on counsel for Defendant(s), or if counsel is not known, on Defendant(s) within

   five (5) days of the date of this Order.       If the Complaint has not been served as of the

   date of this Order, Counsel for Plaintiff must serve the Complaint within five (5) days




                                           (2
   of the date of this Order.


 Dated     yan 10 2023
                                                           Lawtence P. Riff
                                                        Judge of the Superior Court
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 117 of 122 Page ID
                                  #:131
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                     Central District, Spring Street Courthouse, Department 7

 23STCV00395                                                                       January 10, 2023
 JANE DOE, vs TORRANCE MEMORIAL MEDICAL                                                   9:25 AM
 CENTER


 Judge: Honorable Lawrence P. Riff                  CSR: None
 Judicial Assistant: Alfredo Morales                ERM: None
 Courtroom Assistant: Teresa Bivins                 Deputy Sheriff: None

 APPEARANCES:
 For Plaintiff(s): No Appearances
 For Defendant(s): No Appearances




 NATURE OF PROCEEDINGS: Court Order

 By this order, the Court determines this case to be Complex according to Rule 3.400 of the
 California Rules of Court. The Clerk’s Office has assigned this case to this department for all
 purposes.

 Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
 thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
 fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
 or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
 dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
 All such fees are ordered to be paid to Los Angeles Superior Court, within ten (10) days of
 service of this order.

 By this order, the Court stays the case, except for service of the Summons and Complaint. The
 stay continues at least until the Initial Status Conference. Initial Status Conference is set for
 03/30/2023 at 09:00 AM in this department. At least twenty (20) days prior to the Initial Status
 Conference, counsel for all parties must discuss the issues set forth in the Initial Status
 Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
 Statement five (5) court days before the Initial Status Conference.

 The Initial Status Conference Order, served concurrently with this Minute Order, is to help the
 Court and the parties manage this complex case by developing an orderly schedule for briefing,
 discovery, and court hearings. The parties are informally encouraged to exchange documents and
 information as may be useful for case evaluation.

 Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
 of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
                                            Minute Order                                 Page 1 of 3
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 118 of 122 Page ID
                                  #:132
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                      Central District, Spring Street Courthouse, Department 7

 23STCV00395                                                                         January 10, 2023
 JANE DOE, vs TORRANCE MEMORIAL MEDICAL                                                     9:25 AM
 CENTER


 Judge: Honorable Lawrence P. Riff                   CSR: None
 Judicial Assistant: Alfredo Morales                 ERM: None
 Courtroom Assistant: Teresa Bivins                  Deputy Sheriff: None

 Appearance shall not constitute a waiver of any substantive or procedural challenge to the
 Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
 Code of Civil Procedure Section 170.6. Nothing in this order stays the filing of an Amended
 Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
 Private Attorney General Act (“PAGA”) claim.

 For information on electronic filing in the Complex Courts, please refer to
 https://www.lacourt.org/division/efiling/efiling2.aspx#civil. See, in particular, the link therein for
 “Complex Civil efiling.” Parties shall file all documents in conformity with the Presiding Judge’s
 First Amended General Order of May 3, 2019, particularly including the provisions therein
 requiring Bookmarking with links to primary documents and citations; that Order is available on
 the Court’s website at the link shown above.

 For efficiency in communication with counsel, the complex program requires the parties in every
 new case to use an approved third-party cloud service that provides an electronic message board.
 In order to facilitate communication with counsel prior to the Initial Status Conference, the
 parties must sign-up with the e-service provider at least ten (10) court days in advance of the
 Initial Status Conference and advise the Court which provider was selected.

 The court has implemented LACourtConnect to allow attorneys, self-represented litigants and
 parties to make audio or video appearances in Los Angeles County courtrooms.
 LACourtConnect technology provides a secure, safe and convenient way to attend hearings
 remotely. A key element of the Court’s Access LACourt YOUR WAY program to provide
 services and access to justice, LACourtConnect is intended to enhance social distancing and
 change the traditional in-person courtroom appearance model. See
 https://my.lacourt.org/laccwelcome for more information.

 This Complex Courtroom does not use Los Angeles Superior Court’s Court Reservation (“CRS”)
 portal to reserve motion hearing dates. Rather, counsel may secure dates by calling the
 Courtroom Assistant at 213-310-70xx with the “xx” being the Department number, e.g. Dept. 1
 is 01 and Dept. 10 is 10.

 Court reporters are not provided for hearings or trials. The parties should make their own
 arrangements for any hearing where a transcript is desired.

 If you believe a party or witness will need an interpreter, see the court’s website for information
 on how to make such a request in a timely manner. https://www.lacourt.org/irud/UI/index.aspx
                                            Minute Order                                   Page 2 of 3
Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 119 of 122 Page ID
                                  #:133
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                      Central District, Spring Street Courthouse, Department 7

 23STCV00395                                                                       January 10, 2023
 JANE DOE, vs TORRANCE MEMORIAL MEDICAL                                                   9:25 AM
 CENTER


 Judge: Honorable Lawrence P. Riff                 CSR: None
 Judicial Assistant: Alfredo Morales               ERM: None
 Courtroom Assistant: Teresa Bivins                Deputy Sheriff: None


 Counsel are directed to access the following link for further information on procedures in the
 Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/CI0042.aspx.

 The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
 Order on all parties forthwith and file a Proof of Service in this department within seven (7) days
 of service.

 Certificate of Mailing is attached.




                                           Minute Order                                 Page 3 of 3
              Case 2:23-cv-01237-RGK-MAR Document 1-1 Filed 02/17/23 Page 120 of 122 Page ID
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                                         LOS ANGELES COUNTY SUPERIOR COURT
                                                   CENTRAL DISTRICT

JANE DOE                                                       Case No.:23STCV00395

                           Plaintiff
                      v.


TORRANCE      MEMORIAL MEDICAL CENTER

                           Defendant




                                                 PROOF OF SERVICE

That I, Derek Z. Lee hereby solemnly affirm under penalties of perjury and upon personal knowledge that
the contents of the foregoing documents are true and do affirm I am a competent person over 18 years of
age and not a party to this action

That on 1/20/2023 at 1:20 PM at 3330 Lomita Blvd., Torrance, CA 90505 I served TORRANCE
MEMORIAL MEDICAL CENTER with the following list of documents: SUMMONS; CLASS ACTION
COMPLAINT AND DEMAND FOR JURY TRIAL; CIVIL CASE COVER SHEET; ALTERNATIVE
DISPUTE RESOLUTION (ADR) INFORMATION PACKAGE; FIRST AMENDED GENERAL
ORDER; NOTICE OF CASE ASSIGNMENT UNLIMITED CIVIL CASE: VOLUNTARY EFFICIENT
LITIGATION STIPULATIONS: INITIAL STATUS CONFERENCE                                ORDER   (COMPLEX
LITIGATION); MINUTE ORDER; NOTICE ALTERNATIVE DISPUTE RESOLUTION (ADR)
INFORMATION PACKAGE by then and there personally delivering a true and correct copy of the
documents into the hands of and leaving with upon Laura Tweedt-Roybal whose relationship is Legal
Administrative Assistant in Los Angeles County

That the description of the person actually served is as follows: Gender: Male Skin: White Age: 50s
Height: 5'4” Weight: 160 Hair: Brown Eyes: Brown Marks:


That the fee for this Service is $ .00




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                                                Derek Z. Lee                                              Executed On:
                                                Contracted by CLSS Online, Inc.
                                                 1250 Glenoaks Boulevard, Suite 188
                                                 Glendale, CA 91201
                                                 (800) 336-2577




                                                                                                                   Order #:8275
                                                                                                             Their File T30.231
